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                  Exhibit 7
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                                                                                                                               USOO9456086B1


(12) United States Patent                                                                     (10) Patent No.:                              US 9.456,086 B1
     Wu et al.                                                                                (45) Date of Patent:                                      Sep. 27, 2016

(54) METHOD AND SYSTEM FOR MATCHING                                                                    USPC ............ 379/265.01-266.02, 210.01, 266.03,
      ENTITIES IN AN AUCTION                                                                                                      379/266.04, 266.05, 266.06, 266.07,
                                                                                                                                             379/266.08, 266.09, 266.1
(76) Inventors: Wai Wu, Massapequa, NY (US); Toby                                                      See application file for complete search history.
                Heller, Roslyn Heights, NY (US);
                  Steven M. Hoffberg, West Harrison,                                  (56)                                      References Cited
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                  U.S.C. 154(b) by 1269 days.                                                      4,677,663 A                   6/1987 Szlam
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              Related U.S. Application Data                                                        4,878,243 A                   10, 1989 Hashimoto
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(63) Continuation of application No. 10/794,749, filed on                                          4,894,857 A                    1/1990 Szlam et al.
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(60) Provisional application No. 60/453,273, filed on Mar.                                         4,933,964 A                   6/1990 Girgis
     7, 2003.                                                                                                                      (Continued)
(51) Int. Cl.                                                                         Primary Examiner — Khai N Nguyen
     H04M, 3/00               (2006.01)                                               (74) Attorney, Agent, or Firm — Steven M. Hoffberg, Esq.;
      H04M 5/00               (2006.01)                                               Ostrolenk Faber LLP
      H04M 3/523              (2006.01)
(52) U.S. Cl.                                                                         (57)                     ABSTRACT
     CPC ........... H04M 3/5233 (2013.01); H04M 3/523                                A method for matching a first entity with at least one second
                                              (2013.01)                               entity selected from a plurality of second entities, compris
(58) Field of Classification Search                                                   ing defining a plurality of multivalued scalar data represent
     CPC ..... G10L 15/00; G06Q 10/06; H04M 3/323;                                    ing inferential targeting parameters for the first entity and a
             H04M 3/36; H04M 3/4217; H04M 3/4285:                                     plurality of multivalued scalar data of each of the plurality
          H04M 3/42.195, H04M 3/493; H04M 3/4931;                                     of second entities, representing respective characteristic
          H04M 3/4933; H04M 3/4935; H04M 3/4936;
                                                                                      parameters for each respective second entity; and perform
           H04M 3/4938: H04M 3/42221; H04M 3/51:
                                                                                      ing an automated optimization with respect to an economic
                                                                                      surplus of a respective match of the first entity with the at
          H04M 3/5166; H04M 3/5175: H04M 3/5183;                                      least one of the plurality of second entities, and an oppor
           H04M 3/5191, H04M 3/523; H04M 3/5231;                                      tunity cost of the unavailability of the at least one of the
          H04M 3/5232; H04M 3/5233; H04M 3/5235;                                      plurality of second entities for matching with an alternate
                     H04M 3/5237; H04M 3/5238: H04M                                   first entity.
                     2203/2011; H04M 2203/2061; H04M
               2242/00: HO4M 2242/08: HO4M 2242/12                                                                         20 Claims, 7 Drawing Sheets

                                                 callisplaced to a call center
                                                              301

                                                        caller identified
                                                              302
                                               --
                                                     caller record retrieved
                                                               303

                                                 cal characteristics identified
                                                             304
                                               --
                                                     retrieve agent profiles
                                                              305

                                                                is
                                                   call center near capacity?             use skill-based routing
                                                              308                                   807

                                                                No

                                                  use training and skill based       optimize cost-utility function over
                                                          routing 311                         short term 308

                                                optimize cost-utility function for             select agent
                                                long term call center operation                     303
                                                              312

                                                          select agent                      route call to agent
                                                                                                    30
                                                              313
                                               - -
                                                route call to agent with training
                                                     agent available 314
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        call is placed to a call center
                     301


               Caller identified
                     302

           Caller record retrieved
                     303


        Call characteristics identified
                      304


            retrieve agent profiles
                     305



                                              Yes-O        use skill-based routing
                                                                     307



         use training and skill based                 optimize cost-utility function over
                 routing 311                                   Short term 308

       optimize cost-utility function for                       Select agent
       long term call center operation                               309
                     312

                 Select agent                                route call to agent
                                                                     31 O
                     313


       route call to agent with training
            agent available 314



                                            Fig. 1
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       Outbound call is Cued by an
        Outbound Call Center 401

             Callee identified
                    402


          Callee record retrieved
                    403


      call characteristics predicted
                    404


          retrieve agent profiles                        expected incremental
                    405                                      COst of agent
                                                                  415

       use training and skill based
               routing 411                               expected incremental
                                                            utility of agent
                                                                  416
     optimize cost-utility function for
     long term call center operation
                    412
                                                         expected incremental
                                                             COst of trainer
               Select agent                                       417
                    413

                                                         expected incremental
     route call to agent (with training                      training utility
     agent available if a training call)                          418
                    414




                                           Fig. 2
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      Receive a plurality of Concurrent Communications, each
     having a plurality of associated classification factors 601



    Store information representing characteristics of a plurality
                      of potential targets 601



       Perform a multifactorial optimization to determine an
       optimum target for each of the plurality of Concurrent
    Communications based on the classification factors and the
            characteristics of the plurality of targets 603

                                                                        Common
    Data structure representing skill weights with respect to the       message
    Communication classification factors is applied to determine         queue
                 an optimum agent selection 604                           6O7



    ROute at least One of the Communication Communications to
         a respective an optimum target, said determining
      performing step and said routing step being performed
       under control of within a common a single computer
                      operating system 605
                                                                     providing a cost
                                                                    function for each
     perturb the determining step to provide discrimination in         target, and
                           routing 606                              Optimizing a COst
                                                                    benefit OutCOme Of
                                                                        a routing
                                                                           608



                                         Fig. 4
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                          programmable processor 702


                       Communications control system 701


                          computer readable medium 703
               a multithreaded operating system, providing Support
               for applications and for passing messages between
                        Concurrently executing applications
                                         704
              a communications control server application executing
                  under said multithreaded operating system, for
                 controlling concurrent real time communications
                                         705

               dynamically linkable application, communicating with
                  the Communications control server application to
                    receive call characteristic data and perform a
               multifactorial optimization with respect to a plurality of
              target characteristics for each of a plurality of available
                  communications targets, to resolve a an optimal
                   Communications target and transmit a resolved
               communications target, said communications control
               server application Controlling a plurality of Concurrent
                  real time communications in dependence on the
                     transmitted resolved communications target
                                         7O6




                                       Fig. 5
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                                 Communications system 801
                                              communications router for defining a
                                             plurality of concurrent communications
          plurality of Communications        path paths between sets comprising at
           channels for concurrently       least  two of Said entities, Conducts Series
                                             of auctions an auction to determine the
         communicating with a plurality      select respective Communications path
                    Of entities
                        8O2                 paths  from among a plurality of available
                                               competing paths leading to different
                                                               entities
                                                                 803


                                            Fig. 6
       providing a plurality of communications channels for communicating with a plurality of
                                              entities
                                                901


      routing Communications between communications channels based on the results of an
          auction which is Sensitive to both economic factors and non-economic factors
                                                902

                the communications channels are of a first type and a second type, the
           Communications being routed between a user of at least one of a first type of
             communications channel and a user of at least one of a second type of
                                     Communications Channel
                                              903


       the non-economic factors comprise an optimality of matching a profile representing a
           user of a communications channel of the first type with a profile of a user of a
                            communications channel of a second type
                                                904


         the economic factors compensate for a suboptimiality of a matching of profiles to
                   perturb a non-economic optimal matching from the auction
                                                906

                                             Fig. 7
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       Receiving call classification information for each of a plurality of
       calls, the call classification information comprising a plurality of
                          Classification Characteristics
                                       1001




        Representing a plurality of agent characteristics for each of a
                              plurality of agents
                                       1002



           Determining, with respect to the received call classification
         information associated with a plurality of concurrent calls, an
         optimum set of Concurrent mutually exclusive associations of
           the set of agents with the plurality of calls, the determining
         being dependent on at least a multifactorial optimization of (i)
         the weighted correspondence of the plurality of classification
        characteristics for each of the respective plurality of calls, and
       (ii) the plurality of agent characteristics for each of said plurality
                                      of agents
                                       1003



        Controlling a concurrent call routing of the plurality of calls in
                      dependence on the determination
                                       1004


                                     Fig. 8
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                                                     US 9,456,086 B1
                               1.                                                                   2
     METHOD AND SYSTEM FOR MATCHING                                  general purpose processor. Therefore, the Voice-information
          ENTITIES IN AN AUCTION                                     is generally not communicated on the computer bus.
                                                                        This architecture typically allows the computing platform
           CROSS REFERENCE TO RELATED                                to run a modern, non-deterministic operating system, Such as
                  APPLICATIONS                                       Windows 2000, without impairing the real-time perfor
                                                                     mance of the system as a whole, since the communications
                                                                     control functions are not as time critical as the Voice
   The present application is a continuation of U.S. patent processing functions. However, as is well known, non
application Ser. No. 10/794,749, filed Mar. 5, 2004, now deterministic operating systems, such as Windows 2000, are
U.S. Pat. No. 7,676,034, which claims benefit of priority 10 Subject to significant latencies, especially when multiple
from U.S. Provisional Patent Application 60/453,273, filed tasks are executing, and when contention exists between
Mar. 7, 2003, each of which is expressly incorporated herein resources, especially hard disk access and virtual memory.
by reference.                                                  Therefore, in order to assure that System operation is unim
                                                               peded by inconsistent demands on the platform, typically the
                   TECHNICAL FIELD                             host computer system for the telephony peripherals is “dedi
                                                            15
                                                               cated, and attempts are made to eliminate extraneous
                                                               Software tasks. On the other hand, externalizing essential
   The present invention relates generally to computer inte functions    imposes potential latencies due to communica
grated telecommunications systems and more particularly to tions and external
a system and method employing an intelligent Switching                            processing.
architecture.                                                                               The Call Center
         BACKGROUND OF THE INVENTION                                      A “call center is an organization of people, telecommu
                                                                        nications equipment and management software, with a mis
   The description of the invention herein is intended to sion of efficiently handling electronic customer contact. A
provide information for one skilled in the art to understand 25 typical call center must balance competing goals. Customers
and practice the full scope of the invention, but is not should experience high quality and consistent service as
intended to be limiting as to the scope of available knowl measured,                for example, by how long the customers call
edge, nor admit that any particular reference, nor the com satisfactoryinservice.
                                                                        must  wait     queue before being answered and receiving
                                                                                             At the same time, this service should be
binations and analysis of this information as presented provided                  to make  efficient use of call center resources.
herein, is itself a part of the prior art. It is, in fact, a part of 30
the present invention to aggregate the below cited informa                        Strategies for Call Center Management
tion as a part of the disclosure, without limiting the scope
thereof. All of the below-identified references are therefore             “Workforce management’ systems provide important
expressly incorporated herein by reference, as if the entirety tools for meeting the goals of the call center. These systems
thereof was recited completely herein. It is particularly noted 35 generate forecasts of call Volumes and call handling times
that the present invention is not limited by a narrow or based on historical data, to predict how much staff will be
precise discussion herein, nor is it intended that any dis needed at different times of the day and week. The systems
claimer, limitation, or mandatory language as applied to any then create schedules that match the staffing to anticipated
embodiment or embodiments be considered to limit the                 needs.
scope of the invention as a whole. The scope of the invention 40 Typically, an Automatic Call Distribution (ACD) function
is therefore to be construed as the entire literal scope of the is provided in conjunction with a computerized Private
claims, as well as any equivalents thereof as provided by Branch Exchange (PBX). This ACD function enables a
law. It is also understood that the title, abstract, field of the    group of agents, termed ACD agents, to handle a high
invention, and dependent claims are not intended to, and do Volume            of inbound calls and simultaneously allows a queued
not, limit the scope of the independent claims.                   45 caller to listen to recordings when waiting for an available
   Real-time communications are typically handled by dedi ACD agent.                The ACD function typically informs inbound
cated systems which assure that the management and control callers           of their status while they wait and the ACD function
operations are handled in a manner to keep up with the routes                callers to an appropriate ACD agent on a first-come
                                                                     first-served basis.
communications process, and to avoid imposing inordinate
delays. In order to provide cost-effective performance, com 50 andToday,        all full-featured PBXs provide the ACD function
                                                                          there are even vendors who provide switches specifi
plex processes incidental to the management or control of cally designed to support the ACD function. The ACD
the communication are typically externalized. Thus, the function has been expanded to provide statistical reporting
communications process is generally unburdened from tasks tools, in addition to the call queuing and call routing
requiring a high degree of intelligence, for example the functions mentioned above, which statistical reporting tools
evaluation of complex algorithms and real time optimiza 55 are used to manage the call center. For example, ACD
tions. One possible exception is least cost routing (LCR), historical reports enable a manager to identify times: (a)
which seeks to employ a communications channel which is when inbound callers abandon calls after long waits in a
anticipated to have a lowest cost per unit. In fact, LCR queue because, for example, the call center is staffed by too
schemes, when implemented in conjunction with a commu few ACD agents and (b) when many ACD agents are idle.
nications Switch, either employ simple predetermined rules, 60 In addition, ACD forecasting reports, based on the historical
or externalize the analysis.                                         reports, allow the manager to determine appropriate staffing
   Modern computer telephone integrated systems typically levels for specific weeks and months in the future.
employ a general purpose computer with dedicated Voice
communication hardware peripherals, for example boards                                     Queue Management
made by Dialogic, Inc. (Intel Corp.). The voice communi 65
cation peripherals execute the low level processing and                 ACD systems experience high traffic periods and low
Switching of the Voice channels, under control from the traffic periods. Consequently, ACD Systems must be capable
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                               3                                                                    4
of automating two major decisions. The first major decision       presented   is selected  for handling the matter. Typically, these
may be referred to as the "agent selection decision, i.e., matters involve handling of telephone calls in a call center,
when more than one agent is available to handle the next and the technology may be applied to both inbound and
transaction, which agent should be chosen? The second outbound calling, or a combination of each. The skill-based
major decision may be referred to as the “transaction selec- 5 routing algorithms may also be used to anticipate call center
tion decision, i.e., when more than one transaction is            needs, and therefore be used to optimally schedule agents for
waiting for the next available agent and an agent becomes greatest efficiency, lowest cost, or other optimized variable.
available, which transaction should the agent handle?
   One approach to the agent selection decision is to set up tionIn may the case of multi-skill criteria, the optimality of selec
a sequencing scheme, so that the Switch of the ACD System 10 function orbethebased   like.
                                                                                           on a global minimization of the cost
follows the same sequence of agents until the first available        The longest-idle-agent approach and the FIFO approach
agent in the sequence is found. The concern with this function               well in applications having little variation in the
approach is that it creates "hot seats, i.e. an inequitable types of transactions
distribution of inbound calls to ACD agents who are high in agents can handle anybeing            handled by the ACD agents. If all
                                                                                             transaction, these approaches provide
the sequence. Most current ACD Systems solve the agent
selection decision by using a longest-idle-eligible-agent 15 a Sufficiently high level of transactional throughput, i.e., the
approach to provide a more equitable distribution of trans number of transactions handled by the call center in a
actions.                                                          particular time interval. However, in many call center envi
   There are also different approaches to the transaction ronments, the agents are not equally adept at performing all
selection decision in which there are more available trans        types of transactions. For example, Some transactions of a
actions than there are ACD agents. One approach is to create 20 particular call center may require knowledge of a language
one or more first-in, first-out (FIFO) queues. Under this other than the native language of the country in which the
approach, each transaction may be marked with a priority call center is located. As another example, some transactions
level by the switch of the ACD system. When an agent may require the expertise of “specialists' having training in
becomes available, the transaction with the highest priority the specific field to which the transaction relates, since
is routed to the agent. If several calls of equal priority are as training all agents to be knowledgeable in all areas would be
waiting in a queue, the call which has been waiting the cost-prohibitive. For ACD applications in which agents are
longest is routed to the available agent. If the call center not equally adept at performing all transactions, there are a
conducts outbound transactions, each transaction is similarly number of problems which at least potentially reduce trans
submitted to a FIFO queue with a priority designation, with
the Switch routing transactions from the queue to the agents. 30 actional   throughput of the call center. Three such problems
                                                                  may be referred to as the “under-skilled agent problem, the
                   Queue/Team Management                          “over-skilled agent problem, and the “static grouping
                                                                  problem.
   Calls that arrive at a call center generally are classified       The under-skilled agent problem reduces transactional
into “call types' based on the dialed number and possibly throughput when the switch routes transactions to ACD
other information Such as calling number or caller responses 35 agents who do not have sufficient skills to handle the
to prompts from the network. The call center is typically transactions. For example, a call may be routed to an
served by an automatic call distributor (ACD), which iden English-only speaking person, even though the caller only
tifies the call type of each incoming call and either delivers speaks Spanish. In another example, the transaction may
or queues it. Each call type may have a separate first-in relate to product support of a particular item for which the
first-out queue in the ACD. In most existing call centers, the 40 agent is not trained. When this occurs, the agent will
agents answering calls are organized into one or more typically apologize to the customer and transfer the call to
“teams, with each team having primary responsibility of another agent who is capable of helping the customer.
the calls in one or more queues. This paradigm is sometimes Consequently, neither the agent's nor the customer's time is
referred to as “queue/team.”                                      efficiently utilized.
   In the queue?team model, Scheduling for each team can be 45 Inefficient utilization is also a concern related to the
done independently. Suppose, for example, that the call over-skilled agent problem. A call center may have fixed
center handles calls for sales, service, and billing, and that groupings of agents, with each group having highly trained
each of these call types is served by a separate team. The individuals and less-experienced individuals. Call-manage
schedule for sales agents will depend on the forecast for ment may also designate certain agents as 'specialists.”
sales call volume and on various constraints and preferences
applicable to the agents being scheduled, but this schedule 50 since it would be cost prohibitive to train all agents to be
is not affected by the call volume forecast for service or experts in all transactions. Ideally, the highly skilled agents
billing. Further, within the sales team, agents are typically handle only those transactions that require a greater-than
considered interchangeable from a call handling viewpoint. average skill level. However, if a significant time passes
Thus, within a team, schedule start times, break times and        without transactions that require highly skilled agents, the
the like, may be traded freely among agents in the team to 55 agents may be assigned to calls for which they are over
satisfy agent preferences without affecting scheduled call qualified. This places the system in a position in which there
coverage. See, U.S. Pat. No. 5.325,292, expressly incorpo is no qualified agent for an incoming call requiring a
rated herein by reference.                                        particular expertise because the agents having the expertise
   In a queue?team environment, when a new call arrived, are handling calls that do not require Such expertise. Again,
the ACD determines the call type and places it in the queue, 60 the transactional throughput of the call center is reduced.
if all agents are busy, or allocates this call to the team           Current ACD Systems allow agents to be grouped accord
member who had been available the longest.                        ing to training. For example, a product Support call center
                                                                  may be divided into four fixed, i.e., “static.” groups, with
                      Skill-based Routing                         each group being trained in a different category of products
                                                               65 sold by the company. There are a number of potentially
   Skill-based routing of agents is a well known principle, in negative effects of static grouping. Firstly, the call center
which the agent with the best match of skills to the problem management must devise Some configuration of agents into
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groups. This may be a costly process requiring extensive noon while under-staffing Service at 1:00 p.m. This would
analysis and data entry. Secondly, the configuration that is lead to undesirable results. Moreover, with respect to the
devised is not likely to be optimal in all situations. The pace needs of a particular call type, a multi-skilled agent might
and mix of transactions will change during a typical day. At provide no help over a given span of time, might be 100%
different times, the adverse effects of the under-skilled agent 5 available for calls of that type, or might be available part of
problem and the adverse effects of the over-skilled agent the time and handling other call types for another part of
problem will vary with respect to the transactional through time.
put of the call center. Thirdly, when a new product is                All agents having a particular combination of skills may
released, the devised configuration likely will be less valu be deemed a “skill group.” A central problem of skills-based
able. In response to changes in the size, pace and mix of the 10
transaction load over the course of time, call management scheduling
                                                                   scheduled
                                                                                is then finding a way to predict what fraction of
                                                                               agents  from each skill group will be available to
must monitor and adjust the performance of the current each call type during               each time interval being scheduled. If
grouping configuration on an ongoing basis. When trends
are detected, the grouping configuration should be changed.        these  fractions are known,   then the effect of different agent
This requires the time and attention of call center managers 15 schedules can be generated. Unfortunately, it is difficult or
and Supervisors. Again, the transactional throughput is impossible to calculate the skill group availability fractions
reduced.                                                           directly. These functions depend on the relative and absolute
   It is thus known in the prior art to provide ACD systems call volumes in each call type, on the particulars of the
that depart from the queue/team model described above.             skills-based call distribution algorithms in the ACD, and on
Calls are still categorized into call types. In place of queues 20 the skills profiles of the total scheduled agent population.
for the call types, however, queues associated with “skills' Particularly as ACD skills-based routing algorithms them
are provided. The ACD's call distribution logic for the call selves evolve and become more sophisticated, the factors
type determines which queue or queues a call will occupy at affecting skill group availability become too complex for
various times before it is answered. Agents are not organized direct analysis. One proposed solution provides a feedback
into teams with exclusive responsibility for specific queues. 25 mechanism involving call handling simulation and incre
Instead, each agent has one or more identified "skills' mental scheduling, to schedule agents in a skills-based
corresponding to the skills-based queues. Thus, both a given routing environment. See, U.S. Pat. No. 6,044.355,
call and a given agent may be connected to multiple queues expressly incorporated herein in its entirety.
at the same time. Agent skills designations may be further            In accordance with this “skills-based scheduling method,
qualified, for example, as “primary or “secondary skills, or 30 a computer implemented tool is used to determine an
with some other designation of skill priority or degree of optimum schedule for a plurality of scheduled agents in a
skill attainment. The ACD. call distribution logic may take telephone call center, each of the plurality of scheduled
the skill priority levels into account in its call distribution agents having a combination of defined skills. The plurality
logic.                                                             of scheduled agents are organized into 'skill groups' with
   In a skills-based routing environment, the “matching of 35 each group including all scheduled agents having a particu
calls to agents by the ACD becomes more Sophisticated and lar combination of skills. The method begins by generating
thus complicated. Agents who have more than one skill no a plurality of net staffing arrays, each net staff array asso
longer “belong to a well-defined team that handles a ciated with a given call type and defining, for each time
restricted set of calls. Instead, the skills definitions form       interval to be scheduled, an estimate of a difference between
“implicit teams that overlap in complex ways. If, for 40 a given staffing level and a staffing level needed to meet a
example, a call center has 10 skills defined, then agents current call handling requirement. In addition to the net
could in principle have any of 1024 possible combinations staffing arrays, the method uses a plurality of skills group
(2') of those skills. Each skill combination could be eligible availability arrays, each skills group availability array asso
to handle a different subset of the incoming calls, and the ciated with the given call type and defining, for each
eligible subset might vary with time of day, number of calls 45 combination of skill group and time interval to be scheduled,
in queue, or other factors used by the ACD in its call routing an estimate of a percentage of Scheduled agents from each
decisions.                                                      skill group that are available to handle a call. According to
   Today, call center managers want to connect a caller to an the method, the plurality of arrays are used to generate a
ACD agent having exactly the right skills to serve the caller. proposed schedule for each of the plurality of scheduled
However, “skills based ACD agent groups are often small 50 agents. Thereafter, a call handling simulation is then run
and, as a result, whenever an inbound call arrives, all Such    against the proposed schedule using a plurality of ACD call
"skills based ACD agents may be busy. In such instances, distribution algorithms (one for each call type being sched
the ACD function can take call back instructions from the       uled). Based on the results of the call handling simulation,
caller and the ACD function can manage the call back the net stafling arrays and the skills availability arrays are
functions, for example, by assigning Such calls, in accor- 55 refined to more accurately define the net staffing and skills
dance with the caller instructions, to a "skills based ACD      usage requirements. The process of generating a schedule
agent whenever one becomes available.                           and then testing that schedule through the simulator is then
   Scheduling of agents in a skills-based environment is thus repeated until a given event occurs. The given event may be
a much more difficult problem than it is in a queue?team a determination that the schedule meets some given accep
environment. In a skills-based environment, call types can- 60 tance criteria, a passage of a predetermined period of time,
not be considered in isolation. Thus, for example, a heavy a predetermined number of iterations of the process, or some
Volume of Service calls might place higher demands on combination thereof. A proposed schedule is “optimized'
multi-skilled agents, causing an unforeseen shortage of when it provides an acceptable call handling performance
coverage for Billing calls. Further, agents with different level and an acceptable staffing level in the simulation. Once
skills cannot be considered interchangeable for call han- 65 the proposed schedule is “optimized,” it may be further
dling. Thus, trading lunch times between a Sales-only agent adjusted (within a particular skill group) to accommodate
and a multi-skill agent might lead to over-staffing Sales at agent preferences.
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                              7                                                                 8
  U.S. Pat. No. 5,206,903 to Kohler et al. describes ACD           incoming calls distributed to the agents by separate ACDs.
equipment which uses static grouping. Each static group of         Agent communication terminals (ACTS) which are con
agents is referred to as a 'split,” and each split is associated   nected to an ACD are utilized by the agents to process
with a different queue. The agents are assigned to splits          incoming calls routed to a particular ACT by the ACD.
according to skills. Within a single split, the agents may be         A public branch exchange (PBX) type ACD such as a
limited to knowledge of different subtypes of transactions.        Definity(R) ACD available from AT&T functions as a con
Preferably, there is at least one agent in each split who is ventional PBX and further functions as an ACD to distribute
trained to handle calls of any of the subtypes within the incoming calls to local agents connected to the PBX.
particular split. This “expert” may also be trained to effi Another type of ACD consists of the utilization of an
ciently handle calls of other types, i.e., other splits. Each 10 electronic telecommunication switch such as a 5ESS(R)
agent possesses up to four skill numbers that represent switch available from AT&T which is capable of providing
various abilities of the agent with respect to handling ACD service when supposed by ACTs coupled to the switch.
transactions related to Subtypes and types of transactions.         Both types of ACD typically function as independent sys
The ACD equipment assigns each incoming call three pri tems which handle incoming calls and make internal deci
oritized skill numbers that estimate skill requirements of the 15 sions concerning which agent will receive a given call. Both
incoming call. The skill numbers of the incoming call are types of ACD Systems are capable of generating statistical
considered “prioritized, since they are viewed sequentially reports which can be monitored by a workstation coupled to
in searching for a match of the call with an agent, so that the the ACD system to allow a supervisor to monitor call
second skill number of the call is unnecessary if a match is handling statistics. Such data typically represents an average
found using the first prioritized skill number. The incoming of statistics for a given system.
call is assigned the one, two or three prioritized skill               Telephone call centers that handle calls to toll-free “800'
numbers and is placed in the appropriate queue of the numbers are well-known in the art. Typically, a company
appropriate static group of agents. A search is made among may have many call centers, all answering calls made to the
the available agents for an agent-skill number that matches same set of 800 numbers. Each of the company’s call centers
the first skill number of the call. If no match is found after 25 usually has an automatic call distributor (ACD) or similar
a predetermined time delay, the second prioritized skill equipment capable of queuing calls. ACD management
number of the call is used to find a match. If no match is          information systems keep statistics on agent and call status,
found after a second predetermined time delay, the third and can report these statistics on frequent intervals. Such
prioritized skill number is considered. Then, if no match is capabilities are in use today for centralized reporting and
still found, the ACD equipment of Kohler et al. expands the 30 display of multi-location call center status.
search of available agents to other groups of agents.                  In Such systems, the company will want to distribute the
   While the Kohler et al. patent does not directly address the calls to its call centers in a way that will optimally meet its
problems associated with static groups, it does consider the business goals. Those goals might include low cost of call
skills of the individual agents. The prioritized skill numbers handling, answering most calls within a given amount of
assigned to the incoming calls are logically ordered. The 35 time, providing customized handling for certain calls, and
patent refers to the first skill number of a call as the primary many others. It is also known in the prior art that certain call
call-skill indicator. This primary indicator is used to define routing criteria and techniques Support a broad range of
the minimal skill level that is required for an agent to business goals. These include “load balancing,” “caller
competently handle the call. Consequently, if a match is segmentation' and “geographic routing. Load balancing
made with the primary indicator, the ACD agent may not be 40 refers to distribution of calls so that the expected answer
over-skilled or under-skilled. However, if the search is            delay for new calls is similar across all the call centers. If
unsuccessful, the secondary call-skill indicator is utilized. other considerations do not dictate otherwise, load balancing
The search for a match to the secondary indicator may cause is desirable because it provides optimum efficiency in the
the call to be routed to an agent having more than the use of agents and facilities, and it provides the most con
minimal required skill. The third prioritized skill number 45 sistent grade of service to callers. In special situations it
that is assigned to the incoming call is referred to as the might be desirable to unbalance the load in a particular way,
“tertiary” call-skill indicator. The tertiary indicator is yet but control over the distribution of call load is still desired.
another skill level beyond what is minimally required to               If the caller's identity can be inferred from the calling
competently handle a call. Since the tertiary indicator is number, caller-entered digits, or other information, that
utilized only if a match is not found for either of the primary 50 identity may influence the choice of destination for the call.
or secondary indicators, an overly skilled agent of the Call routing based on Such information is referred to as
appropriate group will handle the call only if that agent is the caller segmentation. Also, it has been found desirable for
only available capable agent. Thus, more highly skilled particular call centers to handle calls from particular geo
agents are assigned only when their skills are required, or no graphic areas. The motivation may be to minimize call
lesser-skilled agent is available to handle the call.            55 transport costs, to Support pre-defined call center “territo
See, U.S. Pat. Nos. 6,529,870; 6,522,726; 6,519,459; 6,519,         ries', or to take advantage of agents specifically trained to
259; 6,510,221; 6,496,568; 6,493,696; 6,493,432; 6,487,             handle calls from given locations. Such techniques are
533; 6,477,494; 6,477,245; 6,470,077; 6,466,909; 6,466,             known as geographic routing.
654; 6,463,299; 6,459,784; 6,453,038; and 2003/0002646.                The interexchange carriers who provide 800 service today
                                                                 60 generally Support Some form of “routing plan” to help
                          Group Rating                              achieve load balancing, caller segmentation and geographic
                                                                    routing. Typically these routing plans allow 800 call routing
   Various types of conventional automatic distributors based on time of day, day of week, the caller's area code,
(ACDS) are available to distribute incoming calls to a group. caller-entered digits, and fixed percentage allocations. Pre
Reservation and information services may be provided by 65 dominately, however, the routing plans Supported by the
large companies, such as major airlines, and may consist of carriers are static in the sense that they do not automatically
geographically separated groups of agents that answer react to unexpected variations in incoming call volume or
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distribution, nor to actual call delays being experienced at         Such as an inbound group or an outbound group. Agents can
each destination. Reaction to changing conditions is done            also be assigned to a Supervisor team, which represents
via manual modification of the plan, on a time scale of              multiple agents that report to the same Supervisor.
minutes or hours.                                                       In certain situations, it is necessary to restrict an agents
    Recent service offerings from some interexchange carri activity to answering calls or handling a particular type of
ers offer some degree of automatic reaction to changing call (e.g., answering only incoming calls). For example,
conditions. One Such offering, called "alternate termination during an outbound campaign, the system placing the out
sequence' or “ATS’ (from AT&T), allows customers to bound calls and controlling the rate at which the calls are
establish maximum numbers of calls to be queued for each placed, e.g., a so-called predictive dialer, relies on the
destination, with a pre-defined alternative when a primary 10 availability of the agent to handle an answered call. If the
destination is overloaded. Another offering, referred to as system places outbound calls expecting the agent to be
“intelligent routing control’ or “IRC' (from MCI), allows an available, but the agent instead places their own call to
ACD to refuse a call from the network, again resulting in another agent or a Supervisor, or has an incoming call
pre-defined alternative call handling. A third kind of service, connected to them, the outbound system may not have an
AT&T's Intelligent Call Processing, lets the interexchange 15 agent available to handle an answered outbound call. Addi
network pass call-by-call data to a computer.                        tionally, if an agent is assigned to handle incoming calls, but
    In a conventional ACD, phone calls are processed on a instead places a call to another agent or listens to voice mail
first-in, first-out basis: the longest call waiting is answered messages, the number of queued incoming calls may
by the next available agent. Answering calls across multiple increase, thereby increasing the waiting time experienced by
automated call distributors (ACD) is typically done on a the callers.
first-in, first-out basis dependent upon time of receipt of the         One document which provides considerable information
call by each ACD, whether the call is directly connected or on intelligent networks is “ITU-T Recommendation Q. 1219,
forwarded.                                                           Intelligent Network User's Guide for Capability Set 1.
   Another call distribution scheme is provided in Gechter et dated April, 1994. This document is incorporated herein by
al., U.S. Pat. No. 5,036,535. This patent discloses a system 25 reference.
for automatically distributing telephone calls placed over a            One known system proposes a call-management method
network to one of a plurality of agent stations connected to and system for distributing calls to a plurality of individuals,
the network via service interfaces, and providing status Such as automatic call distribution (ACD) agents, which
messages to the network. Gechter et al.'s disclosed system routes calls to the individuals based upon a correlation of
includes means for receiving the agent status messages and 30 attributes of the individuals with calls that are tagged with
call arrival messages from the network, which means are identification of abilities that are advantageous to efficiently
connected via a network service interface to the network.            processing the calls. That is, for each call that is to be
Routing means responsive to the receiving means is pro distributed, one or more skills that are relevant to efficient
vided for generating a routing signal provided to the network handling of the call are determined and then used to route the
to connect the incoming call to an agent station through the 35 call to an appropriate individual. In addition, call manage
network. In the system disclosed in Gechter et al, when an ment preferences may also be accommodated.
incoming call is made to the call router, it decides which
agent station should receive the call, establishes a call with                 Personalization and Collaborative Filtering
that agent station, and then transfers the original call onto the
second call to connect the incoming caller directly to the 40 Known systems allow personalization or prediction of
agent station and then drops out of the connection.                  user type, preferences or desires based on historical data or
   U.S. Pat. No. 5,193,110 issued to Jones et al discloses an        limited information available. These known systems have
integrated services platform for a telephone communications been applied to a number of different domains.
system which platform includes a plurality of application               In a non-collaborative personalization system, the avail
processing ports for providing different types of information 45 able information about a person is analyzed, and based on
services to callers. In Jones etals disclosed system, a master this information, conclusions are drawn. In a collaborative
control unit and a high speed digital Switch are used to system, the available information is used to associate the
control processing of incoming phone calls by recognizing person with a group of other users having common attri
the type of service requested by the caller and then routing butes. By grouping users, the data sets are more dense,
the call to the appropriate processing port. The Jones et al 50 permitting more detailed inferences to be drawn. The groups
system is disclosed as an adjunct to current Switching are defined by mapping user attributes in a multidimensional
technology in public and private networks.                           space, and then defining clusters of users having correlated
                                                                     traits. Further, the use of data relating to past transactions of
                   Intelligent Call Management                       other users allows prediction of outcomes and sequences of
                                                                  55 actions, without having a true past example of the activity
   Call centers are also used to make outbound calls, for            from that particular user.
example for telemarketing. Agents making outbound calls,                The following references are expressly incorporated
referred to as outbound agents, are typically separate from herein by reference:
ACD agents handling inbound calls and call center software U.S. Pat. Nos. 6,418,424; 6,400,996; 6,081,750; 5,920,477;
separately manages outbound call lists for outbound agents 60 5,903,454; 5,901,246; 5,875,108; 5,867,386; 5,774,357;
to ensure that each outbound agent wastes little time in 6,529,891; 6,466,970; 6,449,367; 6,446,035; 6,430,558:
dialing or in performing overhead operations.                        6,412,012; 6,389,372; 6,356,899; 6,334,131; 6,334,127:
   A call center typically has multiple agents for answering 6,327,590; 6,321,221; 6,321, 179; 6,317,722; 6,317,718;
incoming calls and placing outgoing calls. A call center may 6,266,649; 6,256,648; 6.253,193; 6,236,980; 6,236,978:
also have agents participating in outgoing call campaigns, 65 6,185,683; 6, 177,932: 6,170,742: 6,146,026; 6,138,119:
typically in conjunction with an outbound call management 6,112,186: 6,112,181; 6,078,928; 6,016,475; 5,999,908:
system. Each agent may be assigned to a particular group,            5,560,011; 6,484,123; 6,480,844; 6,477,246; 6,421,709:
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www.eg3.com/WebID/elect/neur-net/blank/overview/a-                 0010024497 A1: 0020006191 A1: 0020009190 A1;
Z.htm                                                              002001.9846 A1; and 0020021693 A1, each of which is
directory.google.com/Top/Computers/Artificial Intelli         50   expressly incorporated herein by reference.
gence/Neural Networks/
directory.google.com/top/computers/artificial intelligence?                            Internet Auctions
neural networks/faqs, help, and tutorials/
dmoz.org/Computers/Artificial Intelligence/Neural Net                 On-line electronic auction systems which allow efficient
works/                                                        55   sales of products and services are well known, for example,
dmoz.org/Computers/Artificial Intelligence/Neural Net              EBAY.COM, ONSALE.COM, UBID.COM, and the like.
works/FAQs, Help, and Tutorials/                                 Inverse auctions that allow efficient purchases of product are
www.cs.cqub.ac.uk/J.Campbell/my web/book/nn.html                 also known, establishing a market price by competition
www.cere.pa.cnrit/IDAschool/lectures/neural.html                 between sellers. The Internet holds the promise of further
cognet.mit.edu/MITECS/Entry/jordan2                           60 improving efficiency of auctions by reducing transaction
www.faqs.org/faqSfai-faq/neural-nets/part1/preamble.html         costs and freeing the “same time-same place' limitations of
Zhanshou.hypermart.net/thesis.htm                                traditional auctions. This is especially appropriate where the
www.links999.net/hardware/neural.html                            goods may be adequately described by text or images, and
www-ra.informatik.uni-tuebingen.de/linkS/neuronal/wel            thus a physical examination of the goods is not required
come e.html                                                   65 prior to bidding.
www.cogneuro.ox.ac.uk/linkS/ann.html                                In existing Internet systems, the technological focus has
faculty.cs.tamu.edu/choe/resources/                              been in providing an auction system that, over the course of
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hours to days, allow a large number of simultaneous auc time, with a specified number of the product available for
tions, between a large number of bidders to occur. These sale. The web server cooperates with a separate database
systems must be scalable and have high transaction through computer, separated from the web server computer by a
put, while assuring database consistency and overall system firewall. The database computer is accessible to the web
reliability. Even so, certain users may selectively exploit computer server computer to allow selective retrieval of
known technological limitations and artifacts of the auction product information, which includes a product description,
system, including non-real time updating of bidding infor the quantity of the product to be auctioned, a start price of
mation, especially in the final stages of an auction.              the product, and an image of the product. The web server
   Because of existing bandwidth and technological hurdles, computer displays, updated during an auction, the current
Internet auctions are quite different from live auctions with 10 price of the product, the quantity of the product remaining
respect to psychological factors. Live auctions are of ten available for purchase and the measure of the time remain
monitored closely by bidders, who strategically make bids, ing in the auction. The current price is decreased in a
based not only on the “value' of the goods, but also on an predetermined manner during the auction. Each user is
assessment of the competition, timing, psychology, and provided with an input instructing the system to purchase the
progress of the auction. It is for this reason that so-called 15 product at a displayed current price, transmitting an identi
proxy bidding, wherein the bidder creates a preprogrammed fication and required financial authorization for the purchase
“strategy”, usually limited to a maximum price, are disfa of the product, which must be confirmed within a predeter
Vored. A maximum price proxy bidding system is somewhat mined time. In the known system, a certain fall-out rate in
inefficient, in that other bidders may test the proxy, seeking the actual purchase confirmation may be assumed, and
to increase the bid price, without actually intending to therefore some overselling allowed. Further, after a purchase
purchase, or contrarily, after testing the proxy, a bidder is indicate, the user's screen is not updated, obscuring the
might give up, even below a price he might have been ultimate lowest selling price from the user. However, if the
willing to pay. Thus, the proxy imposes inefficiency in the user maintains a second browser, he can continue to monitor
system that effectively increases the transaction cost.            the auction to determine whether the product could have
   In order to address a flurry of activity that often occurs 25 been purchased at a lower price, and if so, fail to confirm the
at the end of an auction, an auction may be held open until committed purchase and purchase the same goods at a lower
no further bids are cleared for a period of time, even if price while reserving the goods to avoid risk of loss. Thus,
advertised to end at a certain time. This is common to both        the system is flawed, and may fail to produce an efficient
live and automated auctions. However, this lack of deter           transaction or optimal price.
minism may upset coordinated Schedules, thus impairing 30 An Internet declining price auction system may provide
efficient business use of the auction system.                      the ability to track the price demand curve, providing
   In order to facilitate management of bids and bidding, valuable marketing information. For example, in trying to
Some of the Internet auction sites have provided non determine the response at different prices, companies nor
Hypertext Markup Language (HTML) browser based soft mally have to conduct market Surveys. In contrast, with a
ware “applet” to track auctions. For example, ONSALE 35 declining price auction, Substantial information regarding
.COM has made available a Marimba Castanet(R) applet price and demand is immediately known. The relationship
called Bidwatch to track auction progress for particular between participating bidders and average purchasers can
items or classes of items, and to facilitate bidding thereon. then be applied to provide a conventional price demand
This system, however, lacks real-time performance under curve for the particular product.
many circumstances, having a stated refresh period of 10 40 U.S. Pat. No. 5,835,896, Fisher, et al., issued Nov. 10,
seconds, with a long latency for confirmation of a bid, due        1998, expressly incorporated herein by reference in its
to constraints on Software execution, quality of Service in entirety, provides method and system for processing and
communications streams, and bid confirmation dialogue. transmitting electronic auction information over the Internet,
Thus, it is possible to lose a bid even if an attempt was made between a central transaction server system and remote
prior to another bidder. The need to quickly enter the bid, at 45 bidder terminals. Those bids are recorded by the system and
risk of being too late, makes the process potentially error the bidders are updated with the current auction status
prone.                                                             information. When appropriate, the system closes the auc
   Proxy bidding, as discussed above, is a known technique tion from further bidding and notifies the winning bidders
for overcoming the constraints of Internet communications and losers as to the auction outcome. The transaction server
and client processing limitations, since it bypasses the client 50 posts information from a database describing a lot available
and telecommunications links and may execute solely on the for purchase, receives a plurality of bids, stored in a bid
host system or local thereto. However, proxy bidding under database, in response to the information, and automatically
mines some of the efficiencies gained by a live market.            categorizes the bids as Successful or unsuccessful. Each bid
   U.S. Pat. No. 5,890,138 to Godin, et al. (Mar. 30, 1999), is validated, and an electronic mail message is sent inform
expressly incorporated herein by reference in its entirety, 55 ing the bidder of the bid status. This system employs HTTP,
relates to an Internet auction system. The system implements and thus does not automatically update remote terminal
a declining price auction process, removing a user from the screens, requiring the e-mail notification feature.
auction process once an indication to purchase has been               The auction rules may be flexible, for example including
received. See, Rockoff, T. E. Groves, M.: “Design of an Dutch-type auctions, for example by implementing a price
Internet-based System for Remote Dutch Auctions'. Internet 60 markdown feature with scheduled price adjustments, and
Research, V 5, n 4, pp. 10-16, MCB University Press, Jan. 1,       English-type (progressive) auctions, with price increases
1995.                                                              corresponding to Successively higher bids. In the Dutch type
   A known computer site for auctioning a product on-line auction, the price markdown feature may be responsive to
comprises at least one web server computer designed for bidding activity over time, amount of bids received, and
serving a host of computer browsers and providing the 65 number of items bid for. Likewise, in the progressive
browsers with the capability to participate in various auc auction, the award price may be dependent on the quantity
tions, where each auction is of a single product, at a specified desired, and typically implements a lowest Successful bid
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price rule. Bids that are below a preset maximum posted           and processes the disbursement as an addendum-based
selling price are maintained in reserve by the system. If a       transaction. The processing of a debit-based transaction
certain sales Volume is not achieved in a specified period of     generally occurs by electronic funds transfer (EFT) or by
time, the price is reduced to liquidate demand above the          financial electronic data interchange (FEDI). The processing
price point, with the new price becoming the posted price.        of an addendum-based transaction generally occurs by elec
On the other hand, if a certain sales Volume is exceeded in       tronic data interchange (EDI).
a specified period of time, the system may automatically             U.S. Pat. No. 6,005,939 (Fortenberry, et al., Dec. 21,
increase the price. These automatic price changes allow the       1999), expressly incorporated herein by reference, relates to
seller to respond quickly to market conditions while keeping a method and apparatus for storing an Internet user's identity
the price of the merchandise as high as possible, to the 10 and access rights to World Wide Web resources. A method
seller's benefit. A “Proxy Bidding feature allows a bidder and apparatus for obtaining user information to conduct
to place a bid for the maximum amount they are willing to secure transactions on the Internet without having to re-enter
pay, keeping this value a secret, displaying only the amount the information multiple times is described. The method and
necessary to win the item up to the amount of the currently apparatus can also provide a technique by which secured
high bids or proxy bids of other bidders. This feature allows 15 access to the data can be achieved over the Internet. A
bidders to participate in the electronic auction without passport containing user-defined information at various
revealing to the other bidders the extent to which they are security levels is stored in a secure server apparatus, or
willing to increase their bids, while maintaining control of passport agent, connected to computer network. A user
their maximum bid without closely monitoring the bidding. process instructs the passport agent to release all or portions
The feature assures proxy bidders the lowest possible price of the passport to a recipient node and forwards a key to the
up to a specified maximum without requiring frequent recipient node to unlock the passport information.
inquiries as to the state of the bidding.                            U.S. Pat. No. 6,016,484 (Williams, et al., Jan. 18, 2000),
   A "Floating Closing Time’ feature may also be imple expressly incorporated herein by reference, relates to a
mented whereby the auction for a particular item is auto system, method and apparatus for network electronic pay
matically closed if no new bids are received within a 25 ment instrument and certification of payment and credit
predetermined time interval, assuming an increasing price collection utilizing a payment. An electronic monetary sys
auction. Bidders thus have an incentive to place bids expe tem provides for transactions utilizing an electronic-mon
ditiously, rather than waiting until near the anticipated close etary system that emulates a wallet or a purse that is
of the auction.                                                   customarily used for keeping money, credit cards and other
   U.S. Pat. No. 5,905,975, Ausubel, issued May 18, 1999, 30 forms of payment organized. Access to the instruments in
expressly incorporated herein by reference in its entirety, the wallet or purse is restricted by a password to avoid
relates to computer implemented methods and apparatus for unauthorized payments. A certificate form must be com
auctions. The proposed system provides intelligent systems pleted in order to obtain an instrument. The certificate form
for the auctioneer and for the user. The auctioneer's system obtains the information necessary for creating a certificate
contains information from a user system based on bid 35 granting authority to utilize an instrument, a payment holder
information entered by the user. With this information, the and a complete electronic wallet. Electronic approval results
auctioneer's system determines whether the auction can be in the generation of an electronic transaction to complete the
concluded or not and appropriate messages are transmitted. order. If a user selects a particular certificate, a particular
At any point in the auction, bidders are provided the payment instrument holder will be generated based on the
opportunity to submit not only their current bids, but also to 40 selected certificate. In addition, the issuing agent for the
enter future bids, or bidding rules which may have the certificate defines a default bitmap for the instrument asso
opportunity to become relevant at future times or prices, into ciated with a particular certificate, and the default bitmap
the auction system's database. Participants may revise their will be displayed when the certificate definition is com
executory bids, by entering updated bids. Thus, at one pleted. Finally, the number associated with a particular
extreme, a bidder who wishes to economize on his time may 45 certificate will be utilized to determine if a particular party
choose to enter his entire set of bidding rules into the can issue a certificate.
computerized system at the start of the auction, effectively         U.S. Pat. No. 6,029,150 (Kravitz, Feb. 22, 2000),
treating this as a sealed-bid auction. At the opposite extreme, expressly incorporated herein by reference, relates to a
a bidder who wishes to closely participate in the auction may system and method of payment in an electronic payment
choose to constantly monitor the auction's progress and to 50 system wherein a plurality of customers have accounts with
submit all of his bids in real time. See also, U.S. patent an agent. A customer obtains an authenticated quote from a
application Ser. No. 08/582,901 filed Jan. 4, 1996, which specific merchant, the quote including a specification of
provides a method for auctioning multiple, identical objects goods and a payment amount for those goods. The customer
and close Substitutes.                                            sends to the agent a single communication including a
                                                               55 request for payment of the payment amount to the specific
                     E-Commerce Systems                           merchant and a unique identification of the customer. The
                                                                  agent issues to the customer an authenticated payment
   U.S. Pat. No. 5,946,669 (Polk, Aug. 31, 1999), expressly advice based only on the single communication and secret
incorporated herein by reference, relates to a method and shared between the customer and the agent and status
apparatus for payment processing using debit-based elec 60 information, which the agent knows about the merchant,
tronic funds transfer and disbursement processing using and/or the customer. The customer forwards a portion of the
addendum-based electronic data interchange. This disclo payment advice to the specific merchant. The specific mer
Sure describes a payment and disbursement system, wherein chant provides the goods to the customer in response to
an initiator authorizes a payment and disbursement to a receiving the portion of the payment advice.
collector and the collector processes the payment and dis 65 U.S. Pat. No. 6,047,269 (Biffar, Apr. 4, 2000), expressly
bursement through an accumulator agency. The accumulator incorporated herein by reference, relates to a self-contained
agency processes the payment as a debit-based transaction payment system with creating and facilitating transfer of
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circulating digital vouchers representing value. A digital         transaction costs of a non-real time transactions of Small
Voucher has an identifying element and a dynamic log. The          monetary units are substantially less than those of secure,
identifying element includes information Such as the trans         unlimited or potentially high value, real time verified trans
ferable value, a serial number and a digital signature. The        actions, allowing and facilitating Such types of commerce.
dynamic log records the movement of the Voucher through            Thus, the rights management system may employ applets
the system and accordingly grows over time. This allows the        local to the client system, which communicate with other
system operator to not only reconcile the vouchers before          applets and/or the server and/or a vendor/rights-holder to
redeeming them, but also to recreate the history of move            validate a transaction, at low transactional costs.
ment of a Voucher should an irregularity like a duplicate             The following U.S. Patents, expressly incorporated herein
voucher be detected. These vouchers are used within a 10 by reference, define aspects of micropayment, digital cer
self-contained system including a large number of remote tificate, and on-line payment systems: U.S. Pat. No. 5,930,
devices that are linked to a central system. The central 777 (Barber, Jul. 27, 1999, Method of charging for pay-per
system can e linked to an external system. The external access information over a network); U.S. Pat. No. 5,857,023
system, as well as the remote devices, is connected to the (Jan. 5, 1999, Demers et al., Space efficient method of
central system by any one or a combination of networks. The 15 redeeming electronic payments); U.S. Pat. No. 5,815,657
networks must be able to transport digital information, for (Sep. 29, 1998, Williams, System, method and article of
example the Internet, cellular networks, telecommunication manufacture for network electronic authorization utilizing
networks, cable networks or proprietary networks. Vouchers an authorization instrument); U.S. Pat. No. 5,793.858 (Aug.
can also be transferred from one remote device to another           11, 1998, Micali, Certificate revocation system), U.S. Pat.
remote device. These remote devices can communicate                 No. 5,717,757 (Feb. 10, 1998, Micali, Certificate issue lists):
through a number of methods with each other. For example, U.S. Pat. No. 5,666,416 (Sep. 9, 1997, Micali, Certificate
for a non-face-to-face transaction the Internet is a choice, for    revocation system); U.S. Pat. No. 5,677,955 (Doggett et al.,
a face-to-face or close proximity transactions tone signals or Electronic funds transfer instruments); U.S. Pat. No. 5,839,
light signals are likely methods. In addition, at the time of a     119 (Nov. 17, 1998, Krsul; et al., Method of electronic
transaction a digital receipt can be created which will 25 payments that prevents double-spending); U.S. Pat. No.
facilitate a fast replacement of vouchers stored in a lost 5,915,093 (Berlin et al.); U.S. Pat. No. 5,937,394 (Wong, et
remote device.                                                      al.); U.S. Pat. No. 5,933,498 (Schneck et al.); U.S. Pat. No.
                                                                    5,903,880 (Biffar); U.S. Pat. No. 5,903,651 (Kocher); U.S.
                        Micropayments                               Pat. No. 5,884.277 (Khosla); U.S. Pat. No. 5,960,083 (Sep.
                                                                 30 28, 1999, Micali, Certificate revocation system); U.S. Pat.
   U.S. Pat. No. 5,999,919 (Jarecki, et al., Dec. 7, 1999), No. 5,963,924 (Oct. 5, 1999, Williams et al., System,
expressly incorporated herein by reference, relates to an method and article of manufacture for the use of payment
efficient micropayment system. Existing Software proposals instrument holders and payment instruments in network
for electronic payments can be divided into “on-line' electronic commerce); U.S. Pat. No. 5,996,076 (Rowney et
schemes which require participation of a trusted party (the 35 al., System, method and article of manufacture for secure
bank) in every transaction and are secure against overspend digital certification of electronic commerce); U.S. Pat. No.
ing, and “off-line' schemes which do not require a third 6,016,484 (Jan. 18, 2000, Williams et al., System, method
party and guarantee only that overspending is detected when and article of manufacture for network electronic payment
vendors submit their transaction records to the bank (usually instrument and certification of payment and credit collection
at the end of the day). A new “hybrid” scheme is proposed 40 utilizing a payment); U.S. Pat. No. 6,018,724 (Arent); U.S.
which combines the advantages of both “on-line' and “off Pat. No. 6,021.202 (Anderson et al., Method and system for
line' electronic payment schemes. It allows for control of processing electronic documents); U.S. Pat. No. 6,035,402
overspending at a cost of only a modest increase in com (Vaeth et al.); U.S. Pat. No. 6,049,786 (Smorodinsky); U.S.
munication compared to the off-line schemes. The protocol Pat. No. 6,049,787 (Takahashi, et al.); U.S. Pat. No. 6,058,
is based on probabilistic polling. During each transaction, 45 381 (Nelson, Many-to-many payments system for network
with some small probability, the vendor forwards informa content materials); U.S. Pat. No. 6,061.448 (Smith, et al.);
tion about this transaction to the bank. This enables the bank      U.S. Pat. No. 5,987,132 (Nov. 16, 1999, Rowney, System,
to maintain an accurate approximation of a customer's method and article of manufacture for conditionally accept
spending. The frequency of polling messages is related to ing a payment method utilizing an extensible, flexible archi
the monetary value of transactions and the amount of 50 tecture); U.S. Pat. No. 6,057,872 (Candelore); and U.S. Pat.
overspending the bank is willing to risk. For transactions of No. 6,061,665 (May 9, 2000, Bahreman, System, method
high monetary value, the cost of polling approaches that of and article of manufacture for dynamic negotiation of a
the on-line schemes, but for micropayments, the cost of network payment framework). See also, Rivest and Shamir,
polling is a small increase over the traffic incurred by the “PayWord and MicroMint: Two Simple Micropayment
off-line schemes.                                                55 Schemes” (May 7, 1996); Micro PAYMENT transfer Pro
   Micropayments are often preferred where the amount of tocol (MPTP) Version 0.1 (22-Nov.-95) et seq.,
the transaction does not justify the costs of complete finan www.w3.org/pub/WWW/TR/WD-mptp: Common Markup
cial security. In the micropayment scheme, typically a direct for web Micropayment Systems, www.w3.org/TR/WD-Mi
communication between creditor and debtor is not required; cropayment-Markup (9-Jun.-99); “Distributing Intellectual
rather, the transaction produces a result which eventually 60 Property: a Model of Microtransaction Based Upon Meta
results in an economic transfer, but which may remain data and Digital Signatures'. Olivia, Maurizio, olivia.mod
outstanding Subsequent to transfer of the underlying goods lang.denison.edu/ olivia/RFC/09/, all of which are expressly
or services. The theory underlying this micropayment incorporated herein by reference.
scheme is that the monetary units are Small enough such that           See also: U.S. Pat. No. 4,977,595; 5,224,162: 5,237,159;
risks of failure in transaction closure is relatively insignifi 65 5,392,353: 5,511,121; 5,621, 201: 5,623,547; 5,679,940;
cant for both parties, but that a user gets few chances to 5,696,908; 5,754,939; 5,768,385; 5,799,087; 5,812,668;
default before credit is withdrawn. On the other hand, the          5,828,840; 5,832,089; 5,850,446; 5,889,862; 5,889,863;
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private information; Chó Moral hazard and performance 5,822,410; 5,822,401; 5,822,400; 5,815,566; 5,815,554;
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                            45                                                            46
5,815,551; 5,812,642; 5,806,071; 5,799,077; 5,796,816;    system which handles virtual or real circuit Switching and
5,796,791; 5,793,846; 5,787,159; 5,787,156; 5,774,537;    management resolves the destination using an algorithm or
5,768,355; 5,761,285; 5,748,711; 5,742,675; 5,740,233;    the like, rather than an unambiguous target.
RE35,758; 5,729,600; 5,727,154; 5,724.418; 5,717,741;        An embodiment according to the present invention, the
5,703,935; 5,701.295; 5,699,418; 5,696,818; 5,696,809;    control over Switching in a circuit Switch is partitioned
5,692,034; 5,692,033; 5,687.225; 5.684,863; 5,675,637;    together with intelligent functions.
5,661,283; 5,657,074; 5,655,014: 5,655,013; 5,652,788:       Intelligent functions include, for example, but are not
5,646,988: 5,646,986; 5,638,436; 5,636,268; 5,636,267;    limited to, optimizations, artificial neural network imple
5,633,917; 5,625,682; 5,625,676; 5,619,557; 5,610,978;    mentation, probabilistic and stochastic process calculations,
5,610,774; 5,600,710; 5,594.791; 5,594,790: 5,592,543: 10 fuZZy logic, Baysian logic and hierachal Markov models
5,590, 171; 5,588,049; 5,586, 179; 5,581,607: 5,581,604;  (HMMs), or the like.
5,581,602; 5,579,383; 5,579,377; 5,577,112: 5,574,784;       A particularly preferred embodiment provides a skill
5,572,586; 5,572,576; 5,570.419, 5,568,540, 5,561,711;    based call automatic call director for routing an incoming
5,559,878; 5,559,867; 5,557,668; 5,555,295; 5,555,290;    call in a call center to an appropriate or optimal agent. While
5,546,456; 5,546,452: 5,544,232; 5,544,220; 5,537,470; 15 skill-based routing technologies are known in the art, the
5,535,257; 5,533,109; 5,533,107: 5,533,103: 5,530.931:    intelligence for routing the call is separate from the Voice
5,528,666; 5,526,417; 5,524,140; 5,519,773: 5,517,566;    routing call management system. Thus, the prior art provides
5,515,421; 5,511,112: 5,506,898; 5,502,762; 5,495,528;    a separate and distinct process, and generally a separate
5,495,523: 5,493,690; 5.485,506; 5,481,596; 5,479,501;    system or partition of a system, for evaluation of the skill
5,479,487; 5,467,391; 5,465,286; 5,459,781; 5,448,631;    based routing functionality. For example, while the low level
5,448,624; 5,442,693; 5,436,967; 5,434,906; 5,432,835;    voice channel switching is performed in a PBX, the high
5,430,792; 5,425,093: 5,420,919; 5,420,852; 5,402,474;    level policy management is often performed in a separate
5,400,393; 5,390,236; 5,381,470; 5,365,575; 5,359,645;    computer system, linked to the PBX through a packet
5,351,285; 5,341,414: 5,341,412; 5,333,190; 5,329,579;     switched network and/or bus data link.
5,327,490; 5,321,745; 5,319,703; 5,313,516; 5,311,577; 25 The present invention, however, integrates evaluation of
5,311,574; 5,309,505; 5,309,504: 5,297, 195: 5,297,146;    intelligent aspects of the control algorithm with the com
5,289,530: 5,283,818; 5,276,732: 5,253,289; 5,251,252:     munications management. This integration therefore allows
5,239,574: 5,224,153: 5,218,635: 5,214,688; 5,185,786;     communications to be established based on an inferential
5,168,517; 5,166,974; 5,164,981; 5,163,087; 5,163,083:     description of a target, rather than a concrete description,
5,161,181; 5,128,984; 5,121,422; 5,103,449; 5,097.528: 30 and allows a plurality of considerations to be applied, rather
5,081,711; 5,077,789; 5,073,929; 5,070,526; 5,070,525;     than a single unambiguous decision rule.
5,063,522; 5,048,075; 5,040,208; 5,020,097; 5,020,095;        An aspect of the present invention therefore proposes an
5,016,270; 5,014,298; 5,007,078; 5,007,000; 4,998,272:     architectural change in the computer telephony integrated
4,987,587; 4,979,171; 4,975,841; 4,958,371; 4.941,168;     (CTI) systems, wherein the CTI host takes on greater
4,935,956; 4,933,964; 4,930, 150: 4,924.501; 4.894,857; 35 responsibilities, for example intelligent tasks, than in known
4,878,243; 4.866,754; 4,852,149; 4,807,279; 4,797,911;     systems. In this case, the host is, for example, a PC server
4,768,221; 4,677,663; 4,286,118                            having a main processor, for example one or more Intel
                                                                   Pentium 4 Xeon or AMD Athlon MP processors, and one or
          SUMMARY AND OBJECTS OF THE                               more voice channel processors, such as Dialogic D/320-PCI
                 INVENTION                                    40   or D/160SC/LS, or PrimeNet MM PCI, or the like. In this
                                                                  type of system, the Voice channel processor handles con
   The summary description of the invention herein provides nections and Switching, but does not implement control. The
disclosure of a number of embodiments of the invention.           control information is provided by the main processor over,
Language describing one embodiment or set of embodi for example, a PCI bus, although some or all control
ments is not intended to, and does not, limit or constrain the 45 information may also be relayed over a mezzanine bus.
scope of other embodiments of the invention.                      Because the actual voice channel processing is off loaded
   The present invention provides a system and method for from the main processor, real time response with respect to
intelligent communication routing within a low-level com Voice information is not required. Therefore, the main pro
munication server system. Therefore, it allows replacement cessor may operate and be controlled by a standard operat
or Supplementation of telephone numbers, IP addresses, 50 ing system, in contrast to a real time operating system. While
e-mail addresses and the like, to identify targets accessible the control processor does operate under certain latency
by the system with high-level definitions, which are con constraints, these are quite long as compared to the response
textually interpreted at the time of communications routing, latency required of the Voice channel processors. This, in
to appropriately direct the communication. Therefore, the turn, allows the main processor(s) to undertake a plurality of
target of a communication is defined by an algorithm, rather 55 tasks which are not deterministic, that is, the time required
than a predetermined address or simple rule, and the algo to complete processing of a task is unknown and is not
rithm evaluated in real time for resolution of the target, to necessarily completed within a time window. However, by
deliver the communication or establish a real or virtual          using state of the art processors, such as a 3.06 GHZ, Pentium
channel.                                                          processor, the amount of processing which may be under
   Alternately, the intelligence of the server may be used to 60 taken, meeting a reasonable expectation of processing
implement telephony or computer-telephony integration fea latency, is Substantial. Thus, operating under the same
tures, other than destination or target.                          instance of the operating system, for example sharing the
   Therefore, according to the present invention, communi same message queue, as the interface between the main
cations are, or may be, routed or other telecommunications processor and the Voice channel processor(s), the system
features implemented, inferentially or intelligently, at a 65 according to the present invention may process advanced
relatively low level within the communications management and complex algorithms for implementing intelligent con
architecture. For example, in a call center, the Software trol. This architecture reduces the required bandwidth for
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communications with an external high level management metrics. As stated above, since the skill definitions are
system, as well as the processing load thereon. Likewise, normative, the skills of one agent are compared or compa
since significant decisions and resource allocations are made rable to skills of others. For example, the skill sets are
within the Switching system, the need for high quality of assigned using a multivariate analysis technique, based on
service communications channels between the Switching 5 analysis of a plurality of transactions, predicting the best set
system and management system is also reduced.                       of skills consistent with the results achieved. In this analysis,
   Preferably, the intelligent algorithm for controlling the each skill metric may be associated with a reliability indicia;
Voice channels requires minimal access to a disk or mass that is, in Some instances, where the outcome of clearly
storage based database. That is, for any transaction to be determinable, and a skill as defined is highly correlated with
processed, preferably either all information is available to 10 the outcome, the reliability of the determined skill value for
the main processor at the commencement of the process, or a statistically significant sample size is high. On the other
an initial request is made at commencement of the process, hand, where a particular skill is relatively unrelated to the
with no additional requests necessary to complete the pro tasks included within the data analysis set, that is, the
cess, although a stored database may be updated at the outcome factor is relatively uncorrelated with the value of
conclusion of the process. For example, as a call is received, 15 the skill, the reliability of a determination of an agent skill
sufficient information is gathered to define the caller, either will be low.
by identity or characteristics. This definition may then               A related issue relates to inferring an agent skill level for
trigger an initial database lookup, for example to recall a a skill parameter where little or no data is available. For this
user transaction file or a user profile. Preferably, therefore, a task, collaborative filtering may be appropriate. A collab
table or other data structure is stored in low-latency memory, orative filter seeks to infer characteristics of a person based
for example, double data rate dynamic random access on the characteristics of others having similar associated
memory (DDR-RAM), which holds the principal parameters parameters for other factors. See references cited and incor
and information necessary for execution of the algorithm. porated by reference above. In this case, there is only a small
Therefore, preferably agent and system status information is analytic difference between a parameter for which data is
present and maintained locally, and need not be recalled for 25 available from a respective agent, but yields an unreliable
each transaction.                                                   measurement, and a parameter for which data is unavailable,
   According to a preferred embodiment of the invention, a but can be inferred with some reliability. Therefore, the skill
process is provided for optimizing the selection of an agent determining process may employ both techniques in a
within the Voice channel Switching system. This process is composite; as more data becomes available relating to an
a multistep process. Only the later part of the process 30 actual skill level of an agent with respect to a skill parameter,
generally need be completed in a time-critical fashion, e.g., reliance on inferred skill levels is reduced. It is therefore an
as a foreground task. The initial part(s) of the process may aspect of one embodiment of the invention that a collabora
be implemented over an extended period of time, so long as tive filter is used to infer agent skill levels where specific
the data available for transactions is sufficient current to        data is unavailable. It is also an aspect of an embodiment of
avoid significant errors.                                        35 the invention that in addition to a skill level metric, a
   First, a set of skills are defined, which are generally reliability estimate for the measurement of the skill level
independent skills, although high cross correlations between metric is also made available.
skills would not defeat the utility thereof. The skill defini          It is noted that in defining a desired agent profile for a
tions may be quite persistent, for example over a particular task, the skill metrics themselves are subject to unreliability.
campaign, call center, or even multiple call centers and 40 That is, the target skill levels themselves are but an estimate
multiple campaigns. The skills generally are not subject to or prediction of the actual skills required. Therefore, it is
change after being defined, although through advanced also possible to estimate the reliability of the target skill
processing or reprocessing of data, clusters in multidimen level deemed desired. Where the target skill level is low or
sional space may be defined or revised, representing 'skills'. its estimate unreliable, two separate and distinct parameters,
Likewise, a manual process may be employed to define the 45 the selected agent may also have a low or unreliably
skill set.                                                           determined skill level for that attribute. On the other hand,
   Next, for any given task, the skills are weighted. That is, where a skill is reliably determined to be high, the agent skill
the importance of any skill with respect to the task is defined profile should also be high and reliably determined.
or predicted. This may also be a manual or automated                  In other instances, the metric of skill does not represent a
process. In the case of an automated process for weighting 50 quantitative metric, but rather a qualitative continuum. For
the skills, past tasks similar in nature are analyzed to example, the optimal speech cadence for each customer may
determine which skills were involved, and to what extent.          differ. The metric, in this case, represents a speech cadence
Typically, since the skill set definitions are normative, the parameter for an agent. The idea is not to maximize the
task-skill relationships are derived from data for various or parameter, but rather to optimize it. Therefore, reliability in
all agents, and need not be limited to the data pertaining to 55 this instance does not equate to a reduction in estimated
a single or respective agent. The weighting may be adaptive, magnitude. It is also noted that a further ancillary parameter
that is, the weighting need not be invariant, and may change may be applied for each skill, that is, tolerance to mismatch.
over time based on a number of factors. The weightings may For example, while call received by a call center, for
also be time dependent, for example following a diurnal technical Support, may seek an agent who is more knowl
variation.                                                      60 edgeable than the caller is with respect to the problem, but
   Each agent is assigned a metric with respect to each skill. not one who is so far advanced that a communication gap
This process may be manual or automated, however, a would be apparent. Thus, an optimum skill parameter as well
number of advantages accrue from an automated analysis of as a range is defined. In like manner, other descriptors of a
agent skill level. Typically, an initial skill level will be statistical function or distribution may be employed, for
assigned manually or as a result of an off-line assessment. As 65 example, kurtosis and skew.
the agent is presented with tasks, the proficiency of the agent       It is noted that there are a number of ways of scoring
is analyzed, and the results used to define skill-specific outcome of a call, and indeed, a number of parallel scoring
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systems may be employed, although they should be consis ciencies, and may result in a redistribution in an “unfair”
tently applied; that is, if an agent is selected for handling a manner. Further, the antidiscriminatory factor is itself a form
call based on one paradigm, care should be employed in of discrimination.
scoring the agent or the call outcome using a different               Another method for approaching this problem is to ana
paradigm. Such cross analyses, however, may be useful in lyze the profile or skill vectors a the presumably discrimi
determining an optimum outcome analysis technique.                 nated-against agent or customer classes, and compare this to
   When a new matter is to be assigned to an agent, the pool the corresponding vectors of non-discriminated-against
of agents are analyzed to determine, based on the predefined class of agents or customers. Assuming that discrimination
skills, which is the best agent. Selecting the best agent for a occurs on a class basis, then, a corrective factor may be used
task is dependent on a method of scoring outcome, as 10 to normalize components of the vector to eliminate the
discussed above. In some instances, there is a relatively discriminatory effect.
simple process. For example, agents entrusted to sell a single        A further method of remediating the perceived discrimi
product can be scored based on number of units sold per unit nation is through training. In this case, the presumably
time, or the time it takes to close a sale. However, where         objective outcome determinations are not adjusted, nor is the
different products are for sale, optimization may look at 15 “economic' model for optimal agent selection disturbed.
different parameters, such as call duration, revenues per call Instead, a mismatch of the skill profile of an agent with the
or unit time, profit per call or unit time, or the like. As the caller is used as an opportunity to modify behavior (pre
variety of options for a user grows, so does the theoretical Sumably of the agent). Such that the deficiency is corrected.
issues involved in scoring an agent.                                  For example, a call center agent may have a characteris
   It is also possible for agents to engage in an auction; that tically ethnic accent. In one case, the agent accent may be
is, agents bid for a caller. In this case, an agent must be matched with a corresponding caller accent, assuming that
sufficiently competent to handle the call based on the infor data shows this to be optimum. However, assuming that
mation available, and agents with skills far in excess of those Vocal ethnicity relates to Socioeconomic status, the result
required may be excluded from the bidder pool. For may be that the value of the transaction (or other score
example, agents may be compensated on a commission 25 value) is associated with this status. The goal would there
basis. The bidding may involve an agent bidding a commis fore be for the agent to retrain his or her accent, and indeed
sion rate (up to the maximum allowed). In this way, the use a different accent based on an inferred optimal for the
employer gets the benefit of competition between agents. caller, or to overcome this impediment by scoring well in
The bid, in this instance, may be a manual process entered transactions involving those other than a "corresponding
into by the agent as a prior call is being concluded.           30 accent. Each of these is subject to modification through
   The bid may also be automatically generated at an agent agent training.
station, based on both objective and subjective factors. See,         Therefore, it is apparent that the optimization may be
U.S. patent application Ser. No. 10/71,182 (Steven M. influenced by economic and non-economic factors, and the
Hoffberg, inventor), expressly incorporated herein by refer optimization may include objective and Subjective factors.
ence, and Steven M. Hoffberg, “Game Theory in the Control 35 The system may also intelligently analyze and control
of Ad Hoc Networks'. Wireless Systems Design 2004 (San other aspects of telecommunications besides call routing.
Diego, March 8). That is, a bid may be automatically defined For example, it is particularly advantageous to characterize
and submitted on behalf of an agent. The bid may be defined the caller, especially while the call is in the queue. However,
based on an economic or other criteria.                            increasing the amount of information which must be com
   The optimization of agent selection may also be influ 40 municated between the switch control and a high-level
enced by other factors. Such as training opportunities. There system is undesirable, thus limiting the ability to extract
fore, in determining a cost benefit of selection of a particular low-level information from the caller. Such information may
agent, a training cost/benefit may also be included.               include preferred language, a voice stress analysis, word
   Thus, according to a simplistic analysis, the agent with the cadence, accent, sex, the nature of the call (IVR and/or
highest score is selected. This is, indeed an “optimum 45 speech recognition), personality type, etc. In fact, much of
condition, assuming that there is uniform incremental cost in this information may be obtained through interaction and/or
selecting each agent, and that the system remains static as a analysis of the caller during the queue period. Further, in
result of the selection. On the other hand, if agent costs Some instances, it may be possible to resolve the caller's
differ, or the system status is materially altered on the basis issues without ever connecting to an agent, or at least to
of the selection, or there are extrinsic factors, such as 50 determine whether a personal or automated resolution is
training, then the optimum may also differ.                        preferred. According to an aspect of the invention, the
   A number of factors may also influence optimality of switch itself may control and analyze the interaction with the
selection. While most are merely business-based consider caller. Advantageously, the Switch may further perform a
ations, some may be politically incorrect (bad public policy),     sensitivity analysis to determine which factors relating to the
or even illegal. For example, an optimization may take into 55 call are most useful with respect to selecting an appropriate
account discrimination on an illegal basis, resulting in harm agent, and more particularly by limiting this analysis to the
to either callers or agents within a protected class. That is, agents within the pool which are likely to be available.
a traditionally discriminated-against minority may be Sub Further information characterizing the user may also be
jected to automated and institutionalized discrimination as a gathered to construct a more detailed user profile.
result of an algorithm which favors a discriminatory out 60 It is noted that, in Some cases, a caller prefers to remain
come. In fact, the discriminatory outcome may be both passive in the queue, while in other instances, the caller
efficient and optimal, under an economic or game theory would prefer to actively assist in optimizing the experience.
analysis. However, this may be undesired. One way to This does not necessarily correlate with a universal caller
counteract this is to estimate the discriminatory impact of profile, nor the optimal selection of agent. This can be
the algorithm as a whole and apply a global antidiscrimi 65 quickly ascertained, for example through IVR.
natory factor. While this has the effect of correcting the            It is noted that an efficient analysis performed by the
situation on an overall level, it results in significant inefli switch may differ from an efficient analysis performed or
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controlled by a high level system. For example, a high level hand, in many cases, the agents serve a business purpose,
system may employ speech recognition technology for each and call outcomes may be graded in terms of achieving
caller in a queue. The switch, on the other hand, would likely business goals. In many instances, the business goal is
not be able to implement speech recognition for each caller simple an economic parameter, Such as sales Volume, profit,
in a large queue internally. Further, since the profile of the or the like, and may be directly computed within a cost
caller and the correspondence thereof to the agent skill function normalized in economic units. On the other hand,
profile, as well as the correlation to the outcome, is depen Some business goals, such as customer satisfaction, must be
dent on the selection of characteristics for analysis and converted and normalized into economic terms prior to use
outcome metric, the parameters of each, according to the in an optimization. In any case, the expected outcome
present invention, will also likely differ.                    10
                                                                  resulting from a particular agent may be added as a factor in
   Returning now to the problem of routing a call using an the        cost function.
intelligent Switch, the condition of optimality in the case of       Another    factor to consider in making a selection of an
equal incremental cost, a stationary system condition as a agent in a multi-skill          call center is the availability of agents
result of the selection, and scalar skill parameters having a
magnitude correlated to value, is denoted by the formula:      15 for other  calls, predicted or actual. Thus, while a selection of
                                                                  an agent for one matter may be optimal in a narrow context,
      A-Max X(rs.a.s.)
                 ii.                                              the selected agent might be more valuable for another
   Which denotes that Agent “n” is selected by maximizing matter.          Even if the other matter is predicted or statistical, in
                                                                  Some instances it is preferred to assign more specialized
the sum, for each of the required skills s, of the product of agents      to matters that they can handle, rather than assigning
weighting for that skill rs, and the score for agent n as,
   As stated above, this optimization makes two very impor multitalented
                                                                     This  is
                                                                                   agents.
                                                                              represented   as follows:
tant, and not always applicable assumptions. First, more
highly skilled agents often earn higher salaries. While, once
scheduled, presumably the direct cost is fixed, over the long
term, the pool of agents must be adjusted to the require 25 Wherein B represents a term for the anticipated change in
ments, and therefore the selection of an "expensive' agent value of agent n as a result of the selection, C represents a
leads to increased costs. On the other hand, by preferentially term which indicates the anticipated value of the transaction
selecting the skilled agent over the unskilled agent, the job resulting from the selection of agent n, and D represents the
experience for the skilled agent may be diminished, leading opportunity cost for allocating agent n to the particular call.
to agent retention problems. Likewise, the unskilled agent is 30 In the case of competing requests for allocation, a slightly
not necessarily presented with opportunities for live train different formulation of the problem may be stated. In that
ing. Thus, it is seen that the agent cost may therefore be a case, one might compare all of the cost functions for the
significant variable.                                             matters in the queue with respect to each permissible pairing
   The formula is therefore modified with a cost function as      of agent and matter. Instead of selecting an optimal agent for
follows:                                                       35 a given matter, the system selects an optimal pairing of
                                                                  respective multiple agents with multiple matters. In the case
                                                                    of a call center, often the caller hold time is considered a
   Wherein Ac, and Ac, are agent cost factors for agent n. basic criterion for selection. In order to weight this factor, for
To determine the anticipated cost, one might, for example, example, the cost function includes an allocation for caller
divide the daily salary by the average number of calls per 40 hold time, and possibly a non-linear function is applied.
day handled by the agent. This, however, fails to account for Thus, a caller may be taken out of order for paring with an
the fact that the average length of a call may vary based on optimal agent.
the type of call, which is information presumed available,          In some cases, the variance of a parameter is also con
since the skill set requirements are also based on a classi sidered, in addition to its mean value. More generally, each
fication of the type of call. Further, an agent highly skilled 45 parameter may itself be a vector, representing different
in Some areas may be relatively unskilled in others, making aspects.
an average call duration or average productivity quite mis          It is noted that the various factors used in the system may
leading. Another cost to be considered is training cost. Since be adaptive, that is, the predicted values and actual values
this is generally considered desirable, the actual value may are compared, and the formula or variables adjusted in a
be negative, i.e., an unskilled trainee may be selected over 50 manner which is expected to improve the accuracy of the
a highly skilled agent, for a given call, even though the prediction. Since outcome is generally measured in the same
simple incremental agent costs might tend toward a different metric as the cost function, the actual cost is stored along
result. Likewise, selection of an agent for a certain call may with the conditions of the predictive algorithm, and the
be considered a reward or a punishment for good or bad parameters updated according to a particular paradigm, for
performance, and this may also be allocated a cost function. 55 example an artificial neural network or the like. Typically,
The key here is that all of these disparate factors are there will be insufficient data points with respect to a system
normalized into a common metric, "cost', which is then            considered static to perform an algebraic optimization.
Subject to numeric analysis. Finally, the optimization may          The present invention provides cost function optimization
itself evolve the skill sets and cost function, for example capabilities at a relatively low level within the call routing
through training and reward/punishment.                        60 system. Thus, for example, prior systems provide relatively
   The cost of the “connection' between a caller and an           high level software, operating on massive customer relations
agent may also be considered, for example in a multi management (CRM) database systems, to seek optimization.
location call center, or where agents are compensated on a          On the other hand, according to the present invention, the
per-call basis.                                                   parameters are Supplied in advance, generally in a batch
   Another factor to be considered in many cases is antici 65 format, to the low level routing and computer integrated
pated outcome. In some instances, the outcome is irrelevant, telephony (CTI) software, which computes the cost func
and therefore productivity alone is the criterion. On the other tions. Call outcome data is generally available during and
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after a call to the high level software, which can then set or agent selection, and communicate this with the CTI Soft
adjust values as necessary for the future.                          ware, a significant communication and transaction burden
   It is noted that, generally, the architecture according to the would be encountered.
present invention would not generally provide agent sched              Thus, the present invention proposes that the skill-based
uling information, since this represents a task separate from call routing algorithm be executed in conjunction with the
the call routing functions. Therefore, known systems which low level CTI process, as an integral part of the call routing
integrate both tasks are typically distinguished from the function. Likewise, other call-process related algorithms
present invention. However, it would be possible as a may be implemented, in addition to or instead of a call
separate process for this to be performed on the telephony 10 routing        calculation.
server according to the present invention. More generally, tems, no high level for
                                                                       Advantageously,
                                                                                          CRM
                                                                                             example in many non-adaptive sys
                                                                                                 system is required, and the entire
the updating of agent skill tables or a database, and agent skill-based routing functionality          may be implemented in the
scheduling and call center management, are performed on CTI system, saving significant hardware                  expense and soft
high level systems which are discrete from the telephony ware complexity. Thus, where the cost function is relatively
server. These systems typically access large databases, gen 15 simple to calculate, the skills required for the call and the
erate reports, and integrate many different functions inde skills of each respective agent well known and relatively
pendent of the communications functions.                            constant, a simple database may be provided for the CTI
   The advantage of a preferred architecture according to the platform to route calls intelligently.
present invention is that when a call is received, it can be           Another aspect of the invention provides optimization of
routed in real time, rather than after a possibly significant communications management based on adaptive param
delay. Further, this data processing partition reduces data eters, e.g., not only on the existing skills of the respective
communications bandwidth requirements and reduces trans agents, but rather also based on an anticipated or predicted
actional load on the CRM system. In addition, this archi change in the agent's skills as a result of handling the call.
tectural partition reduces the need for the CRM system to be Likewise, when considering an overall cost function for
involved in low level call management, and reduces the need 25 optimizing call directing, any variety of factors may be
for the CTI software to continually interact with the high considered within its context. Therefore, it an another object
level CRM software. This, in turn, potentially allows use of to provide a consolidated cost function for communications
simple architecture CTI platforms using standard operating management, wherein pertinent factors or parameters are or
systems.                                                            may be expressed in common terms, allowing unified con
                                                                 30 sideration. According to a preferred embodiment of the
   According to a preferred embodiment, the matter skill
requirements, agent skill data, and other parameters, are invention,            this is handled at a low level within the commu
provided to the CTI software, for example as an ASCII table. be handled in real timesystem,
                                                                    nications  management            although various aspects may
                                                                                              or otherwise at various levels of the
The CTI software may, for example, invoke a subprocess for communications management system.
each call received or in the queue, to determine the then 35 In the case of real time communications, such as tradi
optimum agent selection, for a local optimization, i.e., a tional voice telephony, the Switching must by definition
selection of the optimal agent without regard for the effect occur in real time, so must the resolution of the parties to the
of this selection on other concurrent optimizations. In order communication. Therefore, another aspect of the invention
to globally optimize, the processing is preferably unitary. As involves communications and coordination in real time of
conditions change, for example, further calls are added to 40 the various system components, including the low level
the queue, or calls are completed, the optimizations may be system. Preferably, the data upon which an optimization is
recomputed.                                                         based is available locally to the low level system before a
   For example, in a call center with 500 agents, each real time communication is received, so that external com
classified with respect to 32 skills, with an average of 2000 munications to resolve the target are minimized. In some
calls in the queue, with about 50 agents available or antici 45 cases, communications with other system components will
pated to be available at any given time, the computational still be required, but preferably these do not require essen
complexity for each optimization is on the order of 160x10° tially non-deterministic systems to respond prior to resolu
(2000x50x50x32) multiplies, generally of 8 bit length. A 2 tion.
GHZ, Pentium 4 processor, for example, is capable of theo              Another aspect of the invention seeks to optimize long
retical performance of about 2400 MFLOPS. Using a sim 50 term call center operations, rather than immediate efficiency
plified calculation, this means that less than about 10% of perse. Thus, at various times, the system performs functions
the raw capacity of this processor would be required, and which are different or even opposite the result expected to
more powerful processors are being introduced regularly. achieve highest short term efficiency. Preferably, however,
For example, a 3.06 GHZ, Pentium 4 processor with “hyper during peak demand periods, the system assures high short
threading has recently been introduced. In fact, in real 55 term efficiency by Switching or adapting mode of operation.
world situations, the processor would likely not be able to            Therefore, according to the present invention, a number of
achieve its benchmark performance, but it is seen that a additional factors are applicable, or the same factors ana
single modern processor can handle, in near real time, the lyzed in different ways, beyond those employed in existing
required processing. Coprocessing systems are available optimizations. Since most call centers are operational for
which increased the processing capability, especially with 60 extended periods of time, by analyzing and optimizing
respect to independent tasks, while allowing all processes to significant cost factors beyond those contemplated by the
be coordinated under a single operating system. For prior art, a more global optimization may be achieved.
example, Microsoft Windows and Linux both support mul                  In a service environment, the goal is typically to satisfy
tiprocessing environments, in case increased processing the customer at lowest cost to the company. Often, this
capacity is required.                                            65 comes through making a reasonable offer of compromise
   On the other hand, if a high level CRM system is quickly, which requires understanding the issues raised by
interrupted to process each call event to globally reoptimize the customer. Delay leads to three costs: the direct and
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indirect operations cost; the possibility of increased           this case, an agent is selected for training whom would be
demands by the customer (e.g., impaired business marginal        expected to operate with a certain degree of inefficiency to
utility of the communication); and the customer satisfaction     complete the call. In some cases, unsupervised training is
COSt.                                                            instituted. In other cases, a training agent (or automated
   In technical Support operations, the agent must understand 5 system) is allowed to shadow the call, providing assistance,
the technical issues of the product or service. The agent must instruction and/or monitoring of the trainee agent during the
also understand the psychology of the user, who may be call. In this case, it would be anticipated that the call
frustrated, angry, apologetic, or even lonely. The agent must duration would be greater than 5 minutes, due to the training
of ten remotely diagnose the problem, or understand the nature of the call. Further, the required trainer assistance
information provided by the caller, and communicate a 10 further reduces immediate efficiency. However, as the agents
Solution or resolution.                                          in the pool become more skilled, long term efficiency
   In some instances, these seemingly abstract concepts are increases.
represented in relatively basic terms at the communications         Preferably, these characteristics are extracted through an
server level. For example, the cadence of a speaker may be analysis, by the communications control system, of the
available by a simple analysis of a Voice channel for silence 15 available data, although where appropriate, reference to
and word rate. Stress may also represented in a spectral higher level systems may be performed. Thus, in an inter
analysis of Voice or in other known manner. Alcoholism or active voice (or key) response system, there may be Sufi
other impairment may be detected by word slurring, which cient time and resources available to query a high level
may also be detected by certain signature patterns in the system for data or request analysis relating to a call. How
Voice pattern.                                                   ever, in many instances, significant analysis may be per
   It is noted that, in Some instances, the skill related        formed using the computing resources and information
parameters are not independent. That is, there is a high cross available to the low level communication processing system.
correlation or other relationship between the parameters. In Even where the information is not available, a DNIS or other
other instances, there are non-linearities in the process. A type of lookup may provide this information based on a
simple Summing of magnitude times weight for these param 25 relatively simple query.
eters may introduce errors. Therefore, a more complex               More highly skilled agents are both worth more and
algorithm may be employed, without departing from the generally command higher compensation. A program which
spirit or scope of the present invention.                        trains agents internally is either required, due to lack of
   Likewise, for each caller profile class, a different optimi specific external training programs, or is cost effective, since
Zation may be employed. There are some traits, such as 30 new hires can be compensated at a lower rate than trained
alcoholism, which may alter the optimal selection of agent, and experienced hires. Thus, for long-term operations, there
all other thing being equal.                                     is an incentive to train agents internally, rather than seeking
   Therefore, communications routing on seemingly sophis to hire trained agents. Therefore, according to another aspect
ticated or abstract concepts may be efficiently handled at a of the invention, such training, past present and/or future, is
low level without interrupting the basic call processing 35 monetized and employed in optimization of a cost function.
functions or requiring non-standard hardware. In this sense,        Agents may receive additional compensation for training
“non-standard’ refers to a general purpose type computing activities, either for their training activities, performance
platform performing the communications routing functions. based compensation based on the improvement of their
In fact, efficiency is generally enhanced according to the trainees, or both. Thus, there is an incentive for agents to
present invention by avoiding the need for remote commu 40 become skilled and to assist in the training. As a result, the
nications of the call parameters and the resulting commu average skill level and uniformity in a call center will
nications and processing latencies. Of course, in certain increase. However, since the optimal skill palette within a
tightly coupled environments, the target resolution may be call center typically is a moving target, the training process
performed on a physically separate processor or system from will never cease.
the low level call processing, without deviating from the 45 Often, live interaction is an important component of
essential aspects of embodiments of the invention.               training. Therefore, a significant component of the training
   In many cases, the caller characteristics and issues will of encompasses interaction with callers in real-world situa
ten have a significant effect on the duration of the call. tions. Training of ten involves presenting agents with new
While, in general, more skilled agents will have a higher challenges and experiences in order to assure breadth of
productivity, in some cases, the caller restricts throughput. 50 exposure.
Therefore, even though the agent is capable of completing           According to prior skill-based routing schemes, an agent
the call quickly, the caller may cause inordinate delays.        skill level is considered a static upper limit on capabilities,
According to the present invention, through a number of and the ACD avoids distributing calls to agents below a
methods, the caller characteristics are determined or pre threshold. Agents may be called upon to serve requests
dicted, and an appropriate agent selected based on the 55 within their acknowledged skill set. Likewise, this allows a
anticipated dynamic of the call. Thus, for example, if the simple and discrete boundary condition to be respected in
anticipated call duration for a Successful outcome, based on the optimization according to the present invention.
the caller characteristics is a minimum of 5 minutes (de            On the other hand, according to some embodiments of the
pending on the agent), then an agent who is likely to present invention, each call is considered a potential training
complete the call in about 5 minutes may be selected as the 60 exercise, in order to expand the capabilities of the agent, and
optimum; agents who would be able to complete the call therefore the boundary is not concretely applied. Therefore,
within 4 minutes, while technically more productive, may to the extent that the nature of the call can be determined in
have little impact on the actual call duration, and thus would advance, the incentive according to this scheme is to route
be inefficiently employed. Likewise, an agent anticipated to the call to an agent who is barely capable of handling the
complete the call in 6 minutes might be deemed inefficient, 65 call, and to avoid routing only to the best available agents.
depending on the availability of other agents and additional This strategy has other implications. Because agents are
criteria. The call may be selected as a training exercise. In challenged continually, there is reduced incentive for an
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agent to limit his skills to avoid the “tougher assignments. the nature of the call. Likewise, ANI/DNIS information, IP
Further, a self-monitoring scheme may be implemented to address or the like, or other communications channel iden
determine the status of an agent's skill with each call. For tifier may be employed to identify the calling telephone
example, agent performance is typically determined on a communications channel. This information may directly
call-throughput basis, since call centers are managed on a indicate the characteristics or desired characteristics of the
man-hour requirement basis and agents compensated on a communication, or be used to call an external database
per-hour basis. Therefore, based on a presumed agent skill record associated with the identity of the caller or commu
set and an estimation of the skills required for a given call, nications channel. While it is possible to associate Such a
a call duration may be predicted. The actual duration is then database closely with the low level communications pro
compared with the predicted duration, providing a perfor 10 cessing system, this is not generally done, since it may
mance metric for the agent.                                          impair the deterministic characteristics of the communica
   This scheme also allows determination of the pertinent tions processing system. Rather, if Such information is
factors for call duration, both based on the information about       required by the low level communications system for reso
the call or caller and the skill set of the agent. Thus, a variety lution, and cannot be stored locally in a data table, it is
of low-level data may be collected about a volume of calls, 15 preferred that it be available through a closely coupled, but
which may be statistically or otherwise analyzed to deter independent system. As discussed above, it is preferred that
mine significant relations. For example, an artificial neural a call entering the queue require no more than a single
network or fuzzy-neural network may be implemented based database query and receipt of response prior to action,
on the data, which may then be automatically analyzed although other non-time critical access may occur both
based on the independent criteria, e.g., call duration, cost before and after action. The prior art, on the other hand,
function, or the like.                                               generally provides such information through independent
   It is noted that, during peak demand periods, reduced and generally high level systems. High level systems are
productivity due to training exercises is preferably mini generally characterized by general purpose interfaces, broad
mized. Thus, as demand increases, high skill set agents are range of functionality, and often a communications protocol
preferably reassigned from training to most-efficient opera 25 having a rich and complex grammar. On the other hand,
tional status, while lower skill set agents are assigned to calls tightly coupled systems can of ten forgo extensibility and
well within their capabilities. Thus, during such peak interoperability in favor of efficiency.
demand periods, the staffing requirement will generally be              In many instances, call centers are implemented to pro
no worse than traditional call centers. On the other hand,           vide Support for computer systems. It is known to provide a
since training is integrated with operations, over a period of 30 message automatically generated by a computer to identify
time, the average skill of all agents will increase. Thus, more and report the status of the computer at a given time, and
skilled agents will be available at peak periods, reducing possibly the nature of a computer problem. One aspect of the
overall staffing requirements over a long term due to an present invention allows this message to be associated with
expected decrease in average call duration and increase in a direct semantic communication session with the user, for
agent productivity.                                               35 example to predefine the nature of the call and possibly the
   According to this embodiment of the invention, it is less skill set required to address the issues presented. Thus, for
critical to perform the call routing resolution in the low level example, a caller may be prompted to specify information of
system, since the real time criteria is not particularly limited particular relevance in the routing process, while not being
by processing and communication latencies. On the other prompted for information irrelevant to the selection. For
hand, corresponding skill routing functions may be per 40 example, if only one agent is available, the entire prompting
formed by the communications processing system for both process may be bypassed. If two agents are available, their
outbound and inbound communications, thus permitting a profiles may be analyzed, and only the most critical distinc
simplification of the external Supporting systems.                   tions probed. This entire process may be handled in the low
   An embodiment of the present invention provides an level communications processing system, without Substan
Internet Protocol based communications architecture, per 45 tial loss of efficiency or throughput in that system, and with
mitting geographically dispersed physical communications Substantial gains in overall architectural efficiency.
locations to act as a single coordinated entity. In order to            Often, a highly skilled agent will serve as mentor for the
centrally manage a queue, the various pieces of information trainee, and “shadow” the call. Thus, the routing of a call
must be available for processing. As noted above, an inter may depend on availability of both trainee and skilled
active optimization may require a real time comparison of 50 instructor. This dual-availability checking and pairing may
all available agents. In this architecture, in cases of an ad hoc be performed in the low level system.
organization or peak demand periods, freelance agents may               Another aspect of call center efficiency impacted by this
be called upon dynamically as required. Thus, if a peak scheme is agent motivation. Because an agent with lower
demand period is much shorter than an agent shift, off-site skill levels will be given assignments considered challeng
freelance agents may be dynamically called upon, for 55 ing, while more skilled agents given training assignments
example through the Internet, ISDN, POTS, DSL, Cable which may be considered desirable, there is an incentive for
modem, or a VPN, to handle calls. In this case, the optimal agents to progress, and likewise no incentive to avoid
training of Such off-site or freelance agents will generally progressing. Thus, an agent will have no incentive to inten
differ from those who are in-house agents. For example, if tionally or subliminally perform poorly to avoid future
freelance agents are called upon only during peak demand 60 difficult skill-based assignments. These factors may be
periods, these agents will be trained specifically for the skills accommodated in a cost function calculation, for example
in short Supply during Such periods, or for generic skills with an update of the agent vector after each call based on
which are commonly required.                                         call characteristic vector, call outcome and duration, chrono
   In order to gage the skill set required of an agent for a call, logical parameters, and the like.
a number of methods may be employed. Using a menu or 65 In operation, the system works as follows. Prior to call
hierarchal menu, a series of questions may be asked of setup, the nature of the call is predicted or its requirements
callers in the queue to determine the identity of the caller and estimated, as well as the prospective issues to be encoun
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tered. This may be performed in standard manner, for                   processed   log, for analysis by a higher level system, and
example in an inbound call based on the number dialed, does not generate complete, formatted reports itself. The
based on the ANI/DNIS of the caller (with possible database quality of service reports are generated to indicate the
past history lookup), selections made through automated effectiveness of the call-management method and system.
menus, Voice messages, or other triage techniques. In the An agent Summary report is organized according to the
case of outbound calls, a database of past history, demo activities of particular individuals, i.e. agents. A skill sum
graphic information (both particular to the callee and for the mary report organizes the data by skill expressions, rather
region of the call), and nature of the call may all be used to than by agents. This report may list the number of calls
determine the projected agent skill set required for the call. requiring selected skill expressions and the average time
Alternately, only parameters available locally to the com 10 spent on those calls. Other known report types are also
munications control system are employed, which, for possible. An important report type is the improvement in call
example, may exclude a past history database lookup. Col center efficiency over time, i.e., decreased wait time,
laborative filtering may be used to assist in inferring a profile increased throughput, increased customer satisfaction, etc.
of a remote user.                                                      Thus, each agent should demonstrate improved skills over
   It is noted that, after initial call setup, the actual skill set 15 time. Peak throughput should meet or exceed reasonable
required may become apparent, and the call may be rerouted expectations based on a statically skill-routed call center.
to another agent. For example, this may be performed at a Other metrics may also be evaluated. Such reports are
high level, thus permitting correction of errors or inappro typically not generated from low level communications
priate selections made by the low level system.                        systems, and are considered an inventive feature.
   Once the predicted skill sets are determined, these are                It is therefore an object of the invention to provide a
then compared against a database of available agents and communications control system comprising an input for
their respective skill sets. A weighting is applied based on receiving a call classification vector, a table of agent char
perceived importance of selection criteria, and the require acteristic vectors, and a processor, for (a) determining, with
ments correlated with the available agent skill sets.                  respect to the received call classification, an optimum agent
   When the call center is operating below peak capacity, 25 selection based on at least a correspondence of said call
marginally acceptable agents may be selected to receive the classification vector and said table of agent characteristic
call, possibly with a highly acceptable agent available if vectors, and (b) controlling a call routing of the information
necessary for transfer or handoff or to monitor the call. representing said received call in dependence thereon. It is
When the call center is operating near peak capacity, the a further object of the invention to provide a system wherein
agents are assigned to minimize the anticipated man-hour 30 the process maintains a table of skill weights with respect to
burden (throughput) and/or wait time. Thus, peak through the call classification, and applies said weights to determine
put operation generally requires that agents operate within an optimum agent selection.
their proven skill sets, and that training be minimized.                  Another object of the invention is to provide a commu
   Each call is associated with a skill expression that iden nications control system for handling real time communi
tifies the skills that are relevant to efficient handling of the 35 cations, wherein an integral system resolves a communica
call. As previously noted, the preferred embodiment is one tions target based on an optimizing algorithm and
in which more than one relevant skill is identified, so that all    establishes a communications channel with the resolved
of the factors that determine a “best agent for handling a communications target.
call can be considered. This is expressed, for example, as a          A further object of the invention provides a communica
call characteristic vector. The relevant skills required may be 40 tions method comprising receiving a call, classifying the call
determined using different techniques.                             to determine characteristics thereof, receiving a table rep
   The skill expression of a call includes the required skills resenting characteristics of potential targets, determining an
and skill levels for efficiently handling the call. In one optimum target based on the characteristics of both the call
embodiment, the skills may be divided into two categories:         and the potential targets, and routing the received call to the
mandatory and optional skills. Mandatory skills are those 45 optimum target, the determining step and the routing step
skills that an agent must possess in order to handle the call, being performed by a common platform.
even if the call remains in queue for an extended period of           A still further object of the invention provides a commu
time. For example, language proficiency is often a manda nications control software system, comprising a multi
tory skill for handling a call. Optional skills are those that are threaded operating system, providing Support for applica
considered in the selection of the appropriate agent, but not 50 tions and for passing messages between concurrently
critical. In operation, these mandatory skills are expressed as executing applications, a communications control server
a high relevance rating with respect to a call characteristic application executing under said multithreaded operating
having a non-linear (e.g., binary or sigmoid) characteristic.      system, for controlling real time communications, and at
Therefore, in the absence of exceptional circumstances, least one dynamically linkable application, executing under
other factors for qualified agents will determine resolution. 55 said multithreaded operating system, communicating with
Alternately, the mandatory skills may be specified as a said communications control server application to receive
pre-filter, with optional skills and cost function expressed call characteristic data and transmit a resolved communica
through linear-type equations.                                     tions target.
   It is noted that the peak/non-peak considerations may be           Another object of the invention provides a method of
applied on a call-by-call basis. Thus, certain callers may be 60 determining an optimum communications target in real time,
privileged to have a shorter anticipated wait and greater comprising receiving a communication having an indeter
efficiency service than others. Thus, these callers may be minate target, selecting an optimum target, and establishing
treated preferentially, without altering the essential aspects a channel for the communication with the optimum target,
of the invention.                                                  wherein said selecting and establishing steps are performed
   The present invention may also generate a set of reports 65 on a consolidated platform.
directed to management of the call center. Typically, the             It is a further object of the invention to provide a com
communications server generates a call log, or a statistically munications processing system for directly establishing and
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controlling communications channels, receiving information           invention. However, those of ordinary skill in the art will
regarding characteristics of a preferred target of a commu           appreciate that the invention may be practiced without these
nication, comparing the characteristics with a plurality of          specific details. In other instances, well-known methods,
available targets using an optimizing algorithm, and estab           procedures, protocols, components, and circuits have not
lishing the communication with the target in dependence              been completely described in detail so as not to obscure the
thereon.                                                             invention. However, many such elements are described in
   It is another object of the invention to provide a method         the cited references which are incorporated herein by refer
of selecting a call handling agent to handle a call, compris ence, or as are known in the art.
ing the steps of identifying at least one characteristic of a call       For each agent, a profile is created based on manual
to be handled; determining a call center load, and routing the 10 inputs, such as language proficiency, formal education and
call to an agent in dependence on the characteristic, call training, position, and the like, as well as automatically,
center load, and agent characteristics.                               based on actual performance metrics and analysis, and used
   A further object of the invention provides a method to create a skills inventory table. This process is generally
optimizing an association of a communication with an agent performed in a high level system, such as a customer
in a communications center, comprising the steps of deter 15 relations management system or human resources manage
mining a characteristic of a communication; accessing a skill ment system. A profile thus represents a synopsis of the
profile of a set of agents; cost-optimizing the matching of the skills and characteristics that an agent possesses, although it
communication with an agent based on the respective skill may not exist in a human readable or human comprehensible
profile, and routing the call to a selected agent based on said form.
cost-optimization with a common system with said optimiz                 Preferably, the profile includes a number of vectors rep
ing.                                                                  resenting different attributes, which are preferably indepen
   An object of the invention also includes providing a dent, but need not be. The profile relates to both the level of
method for matching a communication with a communica ability, i.e. expertise, in each skill vector, as well as the
tion handler, comprising the steps of predicting a set of performance of the agent, which may be a distinct criterion,
issues to be handled during the communication; accessing a 25 with respect to that skill. In other words, an agent may be
profile record for each of a plurality of communications quite knowledgeable with respect to a product line, but
handlers; analyzing the profile records with respect to the nevertheless relatively slow to service callers. The profile, or
anticipated issues of the communication to determine a an adjunct database file, may also include a level of pref
minimal capability; selecting an optimum communication erence that call management has for the agent to handle
handler, and controlling the communication, all controlled 30 transactions that require particular skills versus transactions
within a common process.                                              that require other skills, or other extrinsic considerations.
   The foregoing has outlined some of the more pertinent                 This table or set of tables is communicated to the com
objects of the present invention. These objects should be munications server. Typically, the communications server
construed to be merely illustrative of some of the more does not create or modify the agent skills table, with the
prominent features and applications of the invention. Many 35 possible exception of updating parameters based on imme
other beneficial results can be attained by applying the diate performance. For example, parameters such as imme
disclosed invention in a different manner or modifying the diate past average call duration, spoken cadence, and other
invention as will be described. Accordingly, other objects statistical parameters of a call-in-progress or immediately
and a fuller understanding of the invention may be had by past concluded will be available to the communications
referring to the following Detailed Description of the pre 40 server. These parameters, which may vary over the course of
ferred embodiment.                                                    a single shift, may be used to adaptively tune the profile of
                                                                      the agent in real time. Typically, however, long term agent
       BRIEF DESCRIPTION OF THE DRAWINGS                              performance is managed at higher levels.
                                                                         FIG. 1 shows a flow chard of an incoming call routing
   For a more complete understanding of the present inven 45 algorithm according to a preferred embodiment of the pres
tion and the advantages thereof, reference should be made to ent invention. A call is placed by a caller to a call center 301.
the following Detailed Description taken in connection with The call is directed, through the public switched telephone
the accompanying drawings in which:                                   network, although, calls or communications may also be
   FIGS. 1 and 2 are flow charts showing a skill routing received through other channels. Such as the Internet, private
method according to the present invention.                         50 branch exchange, intranet VOIP, etc. The source address of
   FIG. 3 shows a block diagram in accordance with the the call, for example the calling telephone number, IP
present invention.                                                    address, or other identifier, is received to identify the caller
   FIG. 4 shows a flowchart in accordance with the present 302. While the call is in the waiting queue, this identifier is
invention.                                                            then used to call up an associated database record 303,
   FIGS. 5 and 6 show block diagrams in accordance with 55 providing, for example, a prior history of interaction, a user
the present invention.                                                record, or the like. The call waiting queue may be managed
   FIGS. 7 and 8 show flowcharts in accordance with the               directly by the telephony server. In this case, since the caller
present invention.                                                    is waiting, variable latencies due to communications with a
                                                                      separate call management system would generally not inter
            DETAILED DESCRIPTION OF THE                            60 fere with call processing, and therefore may be tolerated. In
               PREFERRED EMBODIMENTS                                  other instances, an interactive voice response (IVR) system
                                                                      may be employed to gather information from the caller
   The Detailed description of the invention is intended to during the wait period.
describe relatively complete embodiments of the invention,               In some instances, there will be no associated record, or
through disclosure of details and reference to the drawings. 65 in others, the identification may be ambiguous or incorrect.
The following detailed description sets forth numerous For example, a call from a PBX wherein an unambiguous
specific details to provide a thorough understanding of the caller extension is not provided outside the network, a call
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from a pay phone, or the like. Therefore, the identity of the       maximized over the long term, and call center agents will
caller is then confirmed using voice or promoted DTMF               generally increase in skill rapidly.
codes, which may include an account number, transaction                In order for the communications server system to be able
identifier, or the like, based on the single or ambiguous           to include these advanced factors, they must be expressed in
records.                                                            a normalized format, such as a cost factor.
   During the identity confirmation process, the caller is also       As for the cost side of the optimization, the cost of
directed to provide certain details relating to the purpose of running a call center generally is dependent on required shift
the call. For example, the maybe directed to “press one for ingly, staffing, since other costs are generally constant. Accord
sales, two for service, three for technical support, four for 10 mize asub-locally
                                                                             preferred type of training algorithm serves to mini
                                                                                         optimal call routing during peak load
returns, and five for other”. Each selected choice, for            periods,  and  thus  would  be expected to have no worse cost
example, could include a further menu, or an interactive performance than traditional               call centers. However, as the
Voice response, or an option to record information.                call center  load is reduced, the call routing algorithm routes
   The call-related information is then coded as a call
characteristic vector 304. This call characteristic is either 15
                                                                   calls to trainee agents with respect to the call characteristics.
                                                                   This poses two costs. First, since the trainee is less skilled
generated within, or transmitted to, the communications than a fully trained agent, the utility of the call will be
server system.                                                     reduced. Second, call center agent training generally
   Each agent has a skill profile vector. This vector is requires a trainer be available to monitor and coach the
developed based on various efficiency or productivity cri trainee. While the trainer may be an active call center agent,
teria. For example, in a sales position, productivity may be and therefore part of the fixed overhead, there will be a
defined as sales Volume or gross profits per call or per call marginal cost since the trainer agent might be assuming
minute, customer loyalty of past customers, or other appro other responsibilities instead of training. For example,
priate metrics. In a service call, efficiency may be defined in agents not consumed with inbound call handling may
terms of minutes per call, customer loyalty after the call, engage in outbound call campaigns.
customer satisfaction during the call. Successful resolution 25 It is clearly apparent that the communications server
of the problem, or other metrics. These metrics may be system will have direct access to call center load data, both
absolute values, or normalized for the agent population, or in terms of availability of agents and queue parameters.
both. The skill profile vector is stored in a table, and the          Thus, in a training scheme, an optimization is performed,
profiles, which may be updated dynamically, of available or using as at least one factor the value of training an agent with
Soon to be available agents, are accessed from the table 30 respect to that call 312, and an appropriate trainee agent
(database) 305.                                                    Selected 313.
   Typically, the table 305 is provided or updated by a high          In order to provide proper training, the trainer and trainee
level call center management system to the communications          must both be available, and the call routed to both 314.
server System as the staffing assignments change, for Generally, the trainee has primary responsibility for the call,
example once or more per shift. Intra-shift management, 35 and the trainer has no direct communication with the caller.
Such as scheduling breaks, may be performed at a low or Therefore, the trainer may join the call after commencement,
high level.                                                        or leave before closing. However, routing a call which
   The optimization entails analysis of various information, requires two agents to be simultaneously available poses
which may include the caller characteristics, the call incident Some difficulties. In general, the trainer is an agent capable
characterization, availability of agents, the agent profile(s), 40 of handling the entire call alone, while the trainee may not
and/or various routing principles. According to the present be. Therefore, the trainer is a more important participant,
invention, the necessary information is made directly avail and the initial principle in routing the training call is to
able to the communications server, which performs an ensure that a trainer is available. The trainer may then await
optimization to determine a “best target, e.g., agent selec availability of an appropriate trainee, or if none is immi
tion, for the caller.                                           45 nently available, handle the call himself or herself.
   For example, if peak instantaneous efficiency is desired,          On the other hand, where a specific training campaign is
for example when the call center is near capacity 306, more in place, and a high utility associated with agent training,
advanced optimizations may be bypassed and a traditional then the availability of a specific trainee or class of trainees
skill based call routing algorithm 307 implemented, which for a call having defined characteristics is particularly
optimizes a short term cost-utility function of the call center 50 important. In that case, when an appropriate trainee is
308. An agent who can “optimally' handle the call is then available, the call held in that agent’s cue, and the call
selected 309, and the call routed to that agent 310. The possibly commenced, awaiting a training agent's availabil
global (e.g., call center) factors may be accounted as a ity.
separate set of parameters.                                           If the training is highly structured, it is also possible to
   Thus, in order to immediately optimize the call routing, 55 assign the trainer and trainee agents in pairs, so that the two
the general principle is to route the call Such that the sum of are always available for calls together.
the utility functions of the calls be maximized while the cost        The system according top the present invention may also
of handling those calls be minimized. Other types of opti provide reinforcement for various training. Thus, if a Subset
mizations may, of course, be applied.                              of agents receive classroom training on a topic, the server
   According to one optional aspect of the invention, the 60 may target those agents with calls relating to that topic. For
various routing principles discussed above explicitly value example, the topic may represent a parameter of a call
training as a utility of handling a call 311, and thus a characterization vector. In order to target certain agents for
long-term optimization is implemented 312. The utility of calls having particular characteristics, a negative cost may
caller satisfaction is also weighted, and thus the agent be applied, thus increasing the probability that the agent will
selected is generally minimally capable of handling the call. 65 be selected, as compared with an agent having a positive
Thus, while the caller may be somewhat burdened by cost. By using a single cost function, rather than specific
assignment to a trainee agent, the call center utility is override, the system becomes resilient, since this allocation
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is not treated as an exception, and therefore other parameters      ing  a multifactorial optimization to determine an optimum
may be simultaneously evaluated. For example, if a caller target for each of the plurality of concurrent communica
must communicate in a foreign language, and the agent does tions based on the classification factors and the character
not speak that foreign language, then the system would not istics of the plurality of targets 602; and (d) routing at least
target the call to that agent, even if other factors weigh in one of the communications to a respective an optimum
favor of Such targeting.                                            target, said performing step and said routing step being
   The same techniques are available for outbound cam performed under control of a single computer operating
paigns and/or mixed call centers. In this case, the cost of system 605.
training is more pronounced, since agents idle for inbound             The performing and routing may employ a common
tasks are generally assigned to outbound tasks, and thus the 10 message queue in an operating system 607. A data structure
allocation of trainer agents and trainee agents generally representing skill weights with respect to the communication
results in both longer call duration and double the number of classification factors is applied to determine an optimum
agents assigned per call. This cost may again be balanced by agent selection 604. The method may also include the step
avoiding training during peak utility outbound calling hours of perturbing the determining step to provide discrimination
and peak inbound calling hours; however, training opportu 15 in routing 606. The determining step may comprise provid
nities should not be avoided absolutely.                            ing a cost function for each target, and optimizing a cost
   According to one embodiment of the invention, at the benefit outcome of a routing 608.
conclusion of a call, the caller is prompted through an IVR            FIG. 4 shows a communications control system 701,
to immediately assess the interaction, allowing a Subjective comprising at least one programmable processor 702 execut
scoring of the interaction by the caller without delay. This ing instructions stored in a computer readable medium 703,
information can then be used to update the stored profile the instructions being adapted to control the at least one
parameters for both caller and agent, as well as to provide programmable processor to execute: (a) a multithreaded
feedback to the agent and/or trainer. Under some circum operating system, providing Support for applications and for
stances, this may also allow immediate rectification of an passing messages between concurrently executing applica
unsatisfactory result.                                           25 tions 703; (b) a communications control server application
   As shown in FIG. 3, a communications control system is executing under said multithreaded operating system, for
shown comprising an input 502 receiving call classification controlling concurrent real time communications 704; and
information, the call classification information comprising a (c) at least one dynamically linkable application, executing
plurality of classification characteristics 501, a data structure under said multithreaded operating system, communicating
503 representing a plurality of distinct agent characteristics 30 with said communications control server application to
504 for each of a plurality of agents; and a processor 509a,        receive call characteristic data and perform a multifactorial
509b, which may include a plurality of central processing optimization with respect to a plurality of target character
units, for: (i) determining, with respect to the received call istics for each of a plurality of available communications
classification information, an optimum agent 515a, 515b,            targets, to resolve a an optimal communications target and
515c, 515d, selected from sufficiently capable available 35 transmit a resolved communications target, said communi
agents for association with a call corresponding to call cations control server application controlling a plurality of
classification information, the determination of an optimum concurrent real time communications in dependence on the
agent being based on a multifactorial optimization of (a) at transmitted resolved communications target 706.
least a non-binary weighted correspondence of said plurality           As shown in FIG. 6, a communications matching system
of classification characteristics and (b) said plurality of 40 801 is shown, comprising: (a) a plurality of communications
distinct agent characteristics 504 for each of said plurality of channels for concurrently communicating with a plurality of
agents 515a, 515b, 515c, 515d, and (ii) controlling a routing entities 802; and (b) a communications router for defining a
of a plurality of concurrent calls with a call router 512 in plurality of concurrent communications paths between sets
dependence on the determination. The processor may oper comprising at least two of said entities, wherein said com
ate under control of a consolidated operating system 510. 45 munications router conducts series of auctions to select
The determination and control by the processor may employ respective communications paths from among a plurality of
a common message queue 511 in the operating system 510. available competing paths, wherein said series of auctions
The process may maintain a data structure 503 representing determine winners based on a valuation function which is
skill weights 506 with respect to said call classification sensitive to both economic factors and non-economic fac
information 501, and applies said weights to determine an 50 tors, wherein the non-economic factors have an effect on
optimum agent selection. The processor may receives auction outcome which changes over time, the non-eco
extrinsic perturbation information 508 independent of the nomic factors being valued at the time of the auction 803.
plurality of classification characteristics and the plurality of       As shown in FIG. 7, a communications method is shown,
distinct agent characteristics, to provide discrimination in comprising the steps of: (a) providing a plurality of com
control of call routing. A cost function may be provided for 55 munications channels for concurrently communicating with
each agent 515a, 515b, 515c,515d, the processor optimizing a plurality of entities 901; and (b) automatically concur
a cost-benefit outcome of a routing.                                rently routing communications between a plurality of com
   A plurality of call classification vectors 501 may be munications channels based on the results of an automated
received, the processor being adapted to determine, with auction which determines at least one winner based on a
respect to the received plurality of call classification vectors 60 valuation function which is sensitive to both economic
501, an optimum association of the set of agents 15a, 515b,         factors and non-economic factors 902, wherein the non
15c, 515d, and calls having the associated call classification economic factors have an effect on auction outcome which
vectors 501. As shown in FIG. 4, a communications method            changes over time, the non-economic factors being valued at
is shown comprising: (a) receiving a plurality of concurrent the time of the auction.
communications, each having a plurality of associated clas 65 The communications channels may be of a first type and
sification factors 601; (b) storing information representing a second type, the communications being routed between a
characteristics of a plurality of potential targets; (c) perform user of at least one of a first type of communications channel
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                               67                                                           68
and a user of at least one of a second type of communications selection. While this may be implemented in a number of
channel 903. The non-economic factors may comprise an ways, possibly the simplest is to define the range, which will
optimality of matching a profile representing a user of a typically be a lower skill limit only, below which an agent
communications channel of the first type with a profile of a is excluded from selection, as a preliminary test for “avail
user of a communications channel of a second type 904.         ability”.
   The economic factors may compensate for a suboptimi
ality of a matching of profiles to perturb a non-economic         As noted below in Table 3, the screening criteria may be
optimal matching from the auction 905.                         lower, upper or range limits. In this case, the screening
   As shown in FIG. 8, a communications control method is      process excludes agents 2, 3, and 5, leaving agents 1 and 4
shown, comprising the steps of: (a) receiving call classifi 10 available. Of these two choices, agent 1 has the higher score
cation information for each of a plurality of calls, the call and would be targeted. (Note: 2, 3, 5 excluded, 1, 4 avail
classification information comprising a plurality of classifi able).
cation characteristics 1001; (b) representing a plurality of
agent characteristics for each of a plurality of agents 1002:
(c) determining, with respect to the received call classifica                         EXAMPLE 4
tion information associated with a plurality of concurrent 15
calls, an optimum set of concurrent mutually exclusive            In this example, the optimization seeks to optimize the
associations of the set of agents with the plurality of calls,
the determining being dependent on at least a multifactorial placement of 5 incoming calls to 5 agents. As shown in Table
optimization of (i) the weighted correspondence of the 4, each caller is represented by a different call vector, and
plurality of classification characteristics for each of the each agent by a distinct skill vector. The optimization
respective plurality of calls, and (ii) the plurality of agent therefore seeks the maximum utility from the respective
characteristics for each of said plurality of agents 1003; and possible pairings.
(d) controlling a concurrent call routing of the plurality of
calls in dependence on the determination 1004.                                            Table 1
                                                                  25
                        EXAMPLE 1.
                                                                                                  Agent              Agent         Agent        Agent        Agent
   Each agent is classified with respect to 10 skills, and each         Rule vector                       1            2            3            4             5
skill can have a weight of 0 to 127. The skill weights may
be entered manually by a Supervisor, developed adaptively,             20%     Skill        1     2O                   5            3            5            4
or provided by other means. These are sent as a parameter
file to the communications server.                                      59%    Skill    2             3                3            3            3            3
   A rule vector specifies a normalized contribution of each           10%     Skill    3         10                   6            9           10           10
skill to apply to the total. This rule vector, for example,            15%     Skill    4         43                  50           33           46           25
represents the call characteristic vector. Thus, attributes of          3%     Skill    5             7                2            9            2            8
the call and the status of the system are analyzed to generate 35
this rule vector. There can be more than one rule vector                79%    Skill     6            5                8            5            8            9
defined in a project (split), or a rule can be setup in a per call     20%     Skill    7             2                3            4            2            2
basis. Generally, routing with predefined rules is much more            8%     Skill     8        64                  8O           29           45           77
efficient than routing with rules in a per call bases. When a           59%    Skill    9             4                5            4            1            2
call needs to be routed to an agent, the rule vector is applied 40      79%    Skill    10            9                3            8            3            6
to the skills of the available agents and a score is derived for       100%    Score              1851                17.33        11.1         13.93        13.65
each agent. The agent with the highest score is assigned the
call, as shown in Table 1.
   As shown in Table 1, Agent 1 would be selected, since this
is the highest score.                                           45
                                                                                                              TABLE 2
   In this example, it is presumed that all selections have the
same cost, and therefore the utility only varies. Thus, the                                                   Agent        Agent        Agent        Agent Agent
agent with the highest utility function is the optimal selec            Rule Vector                             1             2           3             4          5
tion.
                                                                  50
                                                                                                Ac1            0.4          0.55         O45          0.7      O6
                        EXAMPLE 2                                                               Ac2            6            3            6.8          2        5.5
                                                                        20%    Ski      1                     2O            5            3            5        4
   The conditions below are the same as in Example 1,                    5%    Ski      2                      3            3            3            3        3
except two new factors are provided. Ac1 and Ac2. The                   10%    Ski      3                     10            6            9           10       10
Preliminary Score is calculated as the sum of the products of 55        15%    Ski      4                     43           50           33           46       25
the Rule Vector and the Agent Vector. The Final Score is                 3%    Ski      5                      7            2            9            2        8
calculated as (Ac1XSum)+AC2.                                             7%    Ski      6                      5            8            5            8        9
   In this case, Ac1 represents an agent-skill weighting cost           20%    Ski      7                      2            3            4            2        2
function, while Ac2 represents an agent cost function. Since             8%    Skill    8                     64           8O           29           45       77
we select the maximum value, more expensive agents have 60               5%    Ski      9                      4            5            4            1        2
correspondingly lower cost values.                                       7%    Ski     10                      9            3            8            3        6
   As can be seen in Table 2, Agent 5 is now optimum.                  100%   Prelim                          1851         17.33        11.1         13.93    13.65
                                                                              Score
                        EXAMPLE 3                                              Fina.                          1340         12.53        11.80        11.7S    13.69
                                                                  65          Score
  In this example, a limiting criterion is imposed, that is,
only agents with a skill score within a bound are eligible for
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                                            69                                                                                                       70
                                                       TABLE 3
 Rule Vector

           Min         Max Exclude                                          Agent Agent            Agent Agent Agent
           Skill       Skill Agent                                            1     2                3     4     5

                                                                    Ac1  0.4              0.55      O.45         0.7    O6
                                                                    Ac2  6                3         6.8          2      5.5
 20%        O%.        25%                           Skill            1 20                5         3.           5      4
  59                                                 Skill            2  3                3         3.                  3
 10%                                                 Skill            3 10                6         9                  10
 15%       40%.        100%          3, 5            Skill            4     43          50         33                  25
  3%                                                 Skill            5      7           2          9                   8
  79%                                                Skill            6      5           8          5                   9
 20%                                                 Skill            7      2           3          4                   2
  8%       30%         75%       2, 3, 5             Skill            8     64          8O         29                  77
  59                                              Skill               9      4           5          4                   2
  79%                                             Skill              10      9           3          8             3     6
100%                                            Pre-Score                   1851        17.33      11.1          13.93 13.65
                                               Final Score                  1340        12.53      11.8O         11.7S 13.69




                                                                    TABLE 4
            Rule         Rule          Rule       Rule             Rule
           Vector       Vector        Vector     Vector           Vector                  Agent      Agent         Agent            Agent   Agent
SKILL         1           2             3             4             5                         1           2             3

            20%          25%           1796       20%              14%                     2O             5
             59%         10%            59         59%              3%                      3             3
            10%          15%           20%        10%               8%                     10             6
            15%          10%            59         59%              59                     43            50         3
             3%           O%            59         8%               196                     7             2
             79%         10%           13%        10%               79%                     5             8
            20%          10%            59        10%              20%                      2             3
             8%           4%            8%         4%               8%                     64            8O         29
             59%          8%           13%        18%              23%                      4             5          4
  1          79%          8%            9%        10%              11%                      9             3          8
           100%         100%          100%       100%             100%      Rule 1         1851          17.33      11.1            13.93    13.65
                                                                            Rule 2         15.4          12.39       8.72           10.77    10.12
                                                                            Rule 3         15.25         13.31       8.97           10.54    12.71
                                                                            Rule 4         12.74          9.91       7.6             7.89     8.98
                                                                            Rule 5         13.69         12.83       8.24            9.03    11.09




                                                                                             TABLE 6
               Rule           Rule            Rule           Rule         Rule                     Agent                    Agent            Agent          Agent       Agent
 SKILL      Vector 1         Vector 2       Vector 3 Vector 4 Vector 5                               1

 Caller            3           3.5            2.75            4            10
  time
 factor
                                                                                 Agent             O.S9                 O.68                               O.86         0.79
                                                                                 Cost
                                                                                 Agent             1.3                  1.3                                1.1          1.2
                                                                                 time
                                                                                 factor
              20%              25%           1796          20%           14%                      2O                                                       5
               59%             10%            59%           59            3%                       3                                                       3
              10%              15%           20%           10%            8%                      10                                                      10
              15%              10%            59%           59            59                      43                                                      46
               3%               O%            59%           8%            196                      7                                                       2
               79%             10%           13%           10%            79%                      5                                                       8
              20%              10%            59%          10%           20%                       2                                                       2
               8%               4%            8%            4%            8%                      64                                                      45
               59%              8%           13%           18%           23%                       4                                                       1
      1O       79%              8%            9%           10%           11%                       9                                                       3
             100%             100%          100%          100%          100%     Rule 1           72.1.89           58.8OO69                19647         31.71861     36.855
                                                                                 Rule 2           70.O7             49.04581 5              18.0068       28.61OSOS    31.878
                                                                                 Rule 3           54.51875          41.39742 75             14.SS382S     21.9996.15   31.45725
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                                                                       US 9,456,086 B1
                                                                       TABLE 6-continued
               Rule         Rule         Rule       Rule       Rule                     Agent             Agent                Agent          Agent            Agent
  SKILL      Vector 1      Vector 2    Vector 3 Vector 4 Vector 5                            1                2                  3              4                   5

                                                                       Rule 4            66.248           4.483284            17.936         23.9S4O4          32.328
                                                                       Rule 5           17797            145.1073             48.616         68.5377           99.81




                                                                                TABLE 5
                                                              Combinatorial analysis of agents vs. callers
58.85     59.52    S8.77     S9.58    60.68      S8.79     S8.04   S8.85   60.28 S7.72       S8.12    S8.93   60.42   S7.86   59.01 60.15   59.26   S6.7    59.96   S8.18
57.88     S8. SS   58.88     60.66    59.71      57.82     58.15   59.93   59.31 56.75       55.41    57.19   60.53   57.97   56.3 57.33    60.34   57.78   57.25   55.36
60.13     61.28    S9.25     60.06    61.96      61.33     S9.3    60.11   62.04 60.26       S8.9     59.71   60.9    59.12   S9.79 60.93   59.74   ST.96   S8.63   S8.96
60.24     49.54    56.54     S8.32    62.07      S8.99     S6.96   S8.74   59.33 S7.92       S6.56    S8.34   58.19   S6.78   57.45 58.48   S8      56.59   57.26   56.51
58.66     59.81    60.14     62.42    60.49      S9.86     60.19   62.47   6O.S7 S8.79       S74S     59.73   61.79   60.01   S8.34 S8.59   62.1    60.32   S8.6S   56.62
59.74     58.07    57.32     S9.6     61.57      58.49     S7.74   60.02   S8.83 57.42       S7.82    60.1    S8.97   S7.56   S8.71 S8.96   S9.28   S7.87   S9.02   S6.99

                                                                                        2O



                                                           TABLE 7
                                                    Combinatorial Analysis
 259.SS    255.3S     256.83       289.63.    267.18     254.87     256.35    289.15         2S5.09    246.97     247.41      280.21
 236.6S    232.4S     235.02       290.71     244.29     231.98     234.54    290.23         232.19    224.07     219.41      275.10
 260.98    259.94     259.99       292.78     268.61     260.93     260.98    293.77         259.67    253.02     248.88      281.67
 239.16    163.40     231.99       287.68     246.80     234.79     234.84    29O.S4.        231.67    226.89     222.7S      278.44
 224.17    223.14     225.7O       295.30     231.81     224.13     226.69    296.28         222.87    216.22     211.56      281.15
 225.26    218.03     219.51       289.10     232.89     220.89     222.37    291.96         217.76    212.98     213.43.     283.02

                                              264.86     256.75     255.71    291.07      309.10       300.99     367.43      302.51
                                              243.OS     234.93     227.70    284.87      310.18       302.07     339.43      296.32
                                              268.02     261.37     257.18    292.53      312.26       305.61     301.42.     303.98
                                              240.01.    235.24     231.04    288.21      3.07.1S      302.37     298.18      299.66
                                              233.73     227.08     219.85    289.SO      314.77       308.12     300.9       300.95
                                              227.54     222.76     221.72    291.37      3O8.58       3O3.8O     302.76      302.82



   Using a combinatorial analysis, as shown in Table 5, the plication, with few divisions required. Thus, these calcula
maximum value is 62.42, which represents the selection of 40 tions may be executed efficiently in a general purpose
agent 1/caller 1, agent 2/caller 5; agent 3/caller 4, agent 4. computing environment.
caller 2; and agent 5, caller 3.
                                                                                                                               EXAMPLE 6
                               EXAMPLE 5
                                                               45    Geographic information may be used as a basis for
   Similarly to Example 4, it is also possible to include an communications routing. Mobile phones are or will be
agent cost analysis, to provide an optimum cost-utility capable of geolocation, meaning that the location of the
function. As in Example 2, the cost factors are reciprocal, handset may be automatically determined in real time and
since we select the largest value as the optimum. Likewise, 50 communicated. Likewise, a location of landlines can typi
time factors are also reciprocal, since we seek to minimize this  cally be determined. There are a number of instances where
the time spent per call. In this case, shown in Table 6, the calls.information      may then advantageously be used to route
cost analysis employs three additional parameters: the agent toll free number ora central
                                                                         For example,     call to a national pizza delivery chain
                                                                                                  facility may be automatically
cost, a value representing the cost of the agent per unit time; routed to a geographically proximate
a value representing an anticipated duration of the call based 55 a number are available, to one of a local      franchisee, or, if
                                                                                                            qualified group. It is
on the characteristics of the caller; and a value representing noted that while the communications are preferably voice
the anticipated duration of the call based on characteristics communications, other type of communications may be
of the agent.                                                     Supported.
   As can be seen in Table 7, the maximum value is 314.78,           However, it is also possible to perform evaluation of more
which corresponds to a selection of:                           60 complex algorithms in order to determine a set of commu
   Agent 1/Call 5: Agent 2/Call 1: Agent 3/Call 4: Agent nications partners. For example, a geographic factor, a past
      4/Call 2; and Agent 5/Call 3.                               history, and/or user profile may be available to describe the
   Therefore, it is seen that the optimum agent/caller selec caller. This information may provide, for example, a pre
tion is sensitive to these cost factors.                          ferred language, a contact report (identifying likely issues),
   It is also seen that, while the analysis can become quite 65 demographic information, and user personality (as deter
complex, the formulae may be limited to evaluation of mined from a prior communication). Likewise, an interac
simple arithmetic functions, principally addition and multi tive voice or keypad response system can glean further
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information to determine the issues involved in the call.        another agent (although this possibility leaves open the issue
Using this information, a vector may be provided describing of undesired indirect real economic effects, since the trade
the caller and the likely issues of the call, which may then may involve extrinsic value).
be used to optimize a targeting of the call to available           Another possibility is the ad hoc formation of chat groups.
recipients. The maintenance of vectors to describe available In this case, the composition of the group is optimized based
call targets is described above.                                 on the respective profile vectors of the members. In some
   In cases where multiple recipients are available and have, cases, the ideal or optimum is minimum variance of the
within a reasonable range, equivalent or Super-threshold vectors, but in other cases optimality may require comple
qualifications or suitability to receive the call, it may be mentary components. Assuming multiple chat groups and
appropriate for the potential recipients to compete for the 10 multiple callers, there may be a market economy for match
call. That is, the optimization of targeting (e.g., pairing of a ing a caller with a group. In Such a scenario, a VCG type
caller and callee) includes an economic component, option auction may be conducted, with the composition of each
ally with a non-economic component. For example, the group allocated based on an optimization of bid values. An
potential recipients each submit a bid for the call, with the example of this is a sports chat line. A number of fans and
call being routed to the auction winner (which may be a 15 sports celebrities contact a call center and are identified and
payment to or from the recipient, depending on the circum a profile applied. Using market principles, the groups are
stances of the auction) at, for example, a first or second formed to maximize the utility aggregate functions. Thus, a
price, according to the auction rules.                           group of “high rollers' may gain the benefit of a SuperStar,
   In a typical case, the routing server has a direct and while neophytes may only communicate with a rookie, with
prearranged financial arrangement with the bidders, and the the set of groups optimized to achieve maximum utility.
auction process does not directly involve the caller. On the       An automated chat system may also be used for dating
other hand, other cases allow the caller to be involved in the   services, adult theme entertainment, business services, con
auction as a “buyer' or “seller, with the communications Sumer services, or the like. In these systems, the communi
router serving only in the capacity of auctioneer, and not a cations router typically taxes some of the economic Surplus
principal to the auction.                                      25 generated by the system, in a real economic form, while
   In cases where the potential recipients do not all have benefiting the various classes of user.
equivalent qualifications, a normalization function may be           It is noted that the auction may involve transfer of real
applied to correct the bids. For example, a potential recipient economic benefits, or a synthetic economy constructed
with a 60% match with the required qualification profile within a closed system. For example, micropayment tech
might have to bid 50% more than a potential recipient with 30 nologies may be employed to authorize and convey the
a 90% match, assuming that the matching function linearly value between entities, even through an open network,
corresponds with an economic factor; otherwise, a non without having to trust all entities within the chain of
linear normalization may be applied. This is equivalent to custody.
providing that the value applied to determine the auction            The bidding may be a volitional real time event, allowing
winner includes a component representing an economic 35 those involved to make decisions on the spot; but more
value and a component representing a non-economic value, typically, a bidder will define a personal value function,
e.g., a match or optimality score for the call, which is which is then used in an automated auction process. The
determined for each bidder to determine the winner. The           bidder will therefore provide an indirect control over the
bidder in this case may either have knowledge of the match bidding on his or her behalf, for example using feedback to
score, or may bid blind.                                       40 tune the attributed value function to a desired value. In
   In a commission based system, for example, an agent with auction types where broadcast of a true value is a dominant
a higher sales average performance might have to bid a strategy, the function itself may be presented as a bid
lower amount than an agent with lower performance, the (assuming that the auctioneer has sufficient information to
difference being an amount which tends to equalize (but not evaluate the function), otherwise, it may be evaluated under
necessarily completely equalize) the anticipated payoff from 45 the circumstances and a normalized value transmitted. The
the call, thus incentivizing higher sales performance. In any auctioneer is, in this case, the communications arbitrator or
case, the communications router (or a separate system which Switch. In a successive price auction, the value function
communicates with the communications router in some               itself is preserved, although the dropout pattern may be
embodiments) evaluates the bids including both economic noted, allowing an estimation of the value function of
and non-economic components, determines the winning 50 competitors.
bidder, and determines the communications path(s).                   It should be clear that there are many possible scenarios
   In another embodiment, a group of agents within a call which allow callers and/or potential recipients to compete
center have performance goals for a shift, with possible for a connection, and therefore a large variety of auction
gradation between agents of the goals based on compensa types may be implemented accordingly.
tion, seniority, etc. The agents are within a queue, in which 55 The present system differs from a known telecommuni
the default is a sequential selection of available agents. cations auction in that, for example, it is sensitive to user
However, an agent may seek to take a break, and therefore characteristics, and does not treat each communications line
bids for a lower position within the queue. Likewise, an as a simple commodity.
agent may find him or herself behind in performance, and             From the above description and drawings, it will be
wish to bid for higher placement within the queue. As 60 understood by those of ordinary skill in the art that the
discussed above, the bid cost or perturbation effect may be particular embodiments shown and described are for pur
normalized based on a variety of factors and schemes, poses of illustration only and are not intended to limit the
including the optimality of matching. In this scheme, the scope of the invention. Those of ordinary skill in the art will
auction may be economic or non-economic. In a non recognize that the invention may be embodied in other
economic scheme, each agent is provided with a set of bid 65 specific forms without departing from its spirit or essential
units, for example 100 per shift The bid units may then be characteristics. References to details of particular embodi
applied to advance within the queue, or even traded with ments are not intended to limit the scope of the claims.
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   It should be appreciated by those skilled in the art that the         8. The method according to claim 1, wherein the auto
specific embodiments disclosed above may be readily uti               mated processor accesses the memory storing the plurality
lized as a basis for modifying or designing other structures          of multivalued scalar data of each of the plurality of second
for carrying out the same purposes of the present invention.          entities to retrieve a data structure representing a plurality of
It should also be realized by those skilled in the art that such      skill weights for each of a plurality of agents, the optimi
equivalent constructions do not depart from the spirit and            Zation being conducted according to an algorithm adapted to
Scope of the invention as set forth in the appended claims.           predict an efficiency of a respective agent with respect to the
   What is claimed is:                                                prospective match with the first subset normalized by a
   1. A method for matching a first subset selected from a respective cost of the respective agent.
plurality of first entities with a second subset selected from 10 9. The method according to claim 1, wherein the auto
a plurality of second entities, comprising:                           mated processor executes under control of a software oper
   storing in a memory a plurality of multivalued scalar data ating system having a message queue, wherein the auto
      representing inferential targeting parameters for the mated processor communicates with a communication
      first subset;                                                   router controlled by the automated processor under the
   storing in the memory a plurality of multivalued scalar 15 control of the operating system responsive to the signal via
      data of each of the plurality of second entities, repre messages passed through the message queue.
      senting respective characteristic parameters for each              10. The method according to claim 1, wherein the opti
      respective second entity;                                       mization further receives an extrinsic perturbation indepen
   performing, using an automated processor, an optimiza dent of the stored plurality of multivalued scalar data of each
      tion with respect to at least an economic Surplus of a of the first subset and plurality of second entities, to provide
      respective mutually exclusive match of the first subset discrimination in control of the matching.
      with the second Subset, and an opportunity cost of the             11. A method for matching a first entity with a second
      unavailability of the second subset for matching with entity, comprising:
      an alternate subset of the plurality of first entities; and        storing a plurality of multivalued scalar data representing
   outputting a signal in dependence on the optimization. 25                inferential targeting parameters for the first entity;
   2. The method according to claim 1, wherein the first                 storing a plurality of multivalued scalar data of each of the
Subset has a cost of a match and a benefit of a match, and the              plurality of second entities, representing inferential
plurality of second entities each have a cost of a match, and               targeting parameters for a plurality of second entities;
a benefit of a match, the optimization being responsive to               performing using an automated processor, based on at
both the cost and benefit for each member of the first subset 30            least the stored plurality of multivalue Scalar data, an
and the second Subset.                                                      economic optimization seeking to maximize a normal
   3. The method according to claim 1, wherein the match is                 ized economic surplus of a respective mutually exclu
used to establish a real time communication link between the                sive match of the first entity with the second entity, in
first subset and the second subset.                                         conjunction with an opportunity cost of the unavail
   4. The method according to claim 1, further comprising: 35               ability of the second entity as a result of the match; and
   storing in a memory a plurality of multivalued scalar data            outputting a signal in dependence on the optimization.
      representing inferential targeting parameters for a third          12. The method according to claim 11, wherein the signal
      subset of the plurality of first entities;                      is used to control a routing of a communication wherein the
   performing using an automated processor, the optimiza routing is not explicitly defined by an initiator of the
      tion further with respect to an economic Surplus of a 40 communication, the plurality of multivalued scalar data each
      respective match of the third subset with a fourth subset being a non-trivial economic value associated with a plu
      of the second entities, and an opportunity cost of the rality of characteristics of the first entity and the plurality of
      unavailability of the fourth subset for matching with an second entities.
      alternate subset of the plurality of first entities, wherein       13. The method according to claim 11, wherein the
      membership in the second and fourth Subsets is mutu 45 automated processor predicts, as a part of the optimization,
      ally exclusive; and                                             a duration of the communication and a set of competing
   outputting a signal in dependence on the second optimi matches for the plurality of second entities.
      Zation.                                                            14. The method according to claim 11, wherein a plurality
   5. The method according to claim 1, wherein the plurality of first entities are concurrently and mutually exclusively
of multivalued scalar data representing inferential targeting 50 matched with respective second entities.
parameters of the first entities comprise characteristics of an          15. The method according to claim 11, wherein the match
information requirement, and the plurality of multivalued is used to control a real time communication.
Scalar data representing inferential targeting parameters of             16. The method according to claim 11, wherein the
the second entities comprise characteristics an information plurality of multivalued scalar data of the second entities
availability, wherein the match defines a communication 55 comprises a plurality of skill weights for each of a plurality
routing.                                                              of agents, the optimization further comprising predicting
   6. The method according to claim 1, wherein the optimi both an efficiency and a cost of a respective agent with
Zation comprises an economic optimization attributing a respect to a match with the first entity.
non-trivial economic value to each of the plurality of mul               17. The method according to claim 11, wherein the
tivalued scalar data representing inferential targeting param 60 optimization economically optimizes an efficiency and a
eters for first entities and the second entities, adapted to cost of a respective agent with respect to a match with the
maximize a predicted aggregate economic Surplus value first entity, and the economic benefit as a result of the match,
dependent on a routing over a period of time of a plurality with respect to alternate matches of the first and second
of concurrent communications each having a respective entity, and competing matches of different first entities with
economic Surplus value.                                            65 the respective second entity.
   7. The method according to claim 1, wherein the plurality             18. The method according to claim 11, wherein signal
of second entities comprise agents of at least one call center. comprises at least one message passed through a message
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queue of a computer operating system, which is communi
cated to a communication router operating under the oper
ating system for control over a routing of a communication.
   19. The method according to claim 11, further comprising
receiving an extrinsic perturbation independent of the plu- 5
rality of multivalued scalar data, the optimization being
performed at least in dependence on the extrinsic perturba
tion, to provide discrimination the matching of the first
entity and the second entity.
   20. A method for matching a first subset of first entities 10
having a plurality of members with a second Subset of
second entities having a plurality of members, comprising:
   storing in a first memory location a plurality of multival
      ued scalar data representing inferential targeting
     parameters for at least the first subset;                15
  storing in a second memory location a plurality of mul
    tivalued scalar data representing characteristic param
     eters for at least the second subset;
  performing, using an automated processor, an optimiza
    tion, to select a mutually exclusive matching of respec- 20
     tive members of the first subset with members of the
     second Subset which imposes an opportunity cost on at
     least the respective members of the first or second
     Subset, which maximizes an economic Surplus with
     respect to a plurality of alternate matchings of the 25
     members of the first subset with the members of the
     second Subset, to thereby account for the opportunity
     cost; and
  outputting a signal representing the selected matching in
     dependence on the optimization.                          30
                       k   k   k   k   k
